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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

  JONATHAN BLAUFARB, derivatively on
  behalf of SOLAREDGE TECHNOLOGIES,
  INC.,
                                                      Case No. 1:24-cv-04427
         Plaintiff,
                                                      JURY TRIAL DEMANDED
         vs.

  ZVI LANDO, RONEN FAIER, LIOR
  DANZIGER, J.B. LOWE, BETSY ATKINS,
  MARCEL GANI, DANA GROSS, DIRK
  CARSTEN HOKE, AVERY MORE, TAL
  PAYNE, and NADAV ZAFRIR,

         Defendants,

         and

  SOLAREDGE TECHNOLOGIES, INC.,

         Nominal Defendant.


                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

                                       INTRODUCTION

       Plaintiff Jonathan Blaufarb (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively

and on behalf of Nominal Defendant SolarEdge Technologies, Inc. (“SolarEdge” or the

“Company”), files this Verified Shareholder Derivative Complaint against Zvi Lando (“Lando”),

Ronen Faier (“Faier”), Lior Danziger (“Danziger”), J.B. Lowe (“Lowe”), Betsy Atkins (“Atkins”),

Marcel Gani (“Gani”), Dana Gross (“Gross”), Dirk Carsten Hoke (“Hoke”), Avery More

(“More”), Tal Payne (“Payne”), and Nadav Zafrir (“Zafrir”) (collectively, the “Individual

Defendants,” and together with SolarEdge, the “Defendants”) for breaches of their fiduciary duties

as directors and/or officers of SolarEdge, unjust enrichment, gross mismanagement, abuse of

control, waste of corporate assets, violations of Sections 14(a) of the Securities Exchange Act of
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1934 (the “Exchange Act”), and against Defendants Lando, Faier, Danziger, and Lowe for

contribution under Sections 10(b) and 21D of the Exchange Act. As for Plaintiff’s complaint

against the Individual Defendants, Plaintiff alleges the following based upon personal knowledge

as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based

upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which included,

among other things, a review of the Defendants’ public documents, conference calls and

announcements made by Defendants, United States Securities and Exchange Commission (“SEC”)

filings, wire and press releases published by and regarding SolarEdge, legal filings, news reports,

securities analysts’ reports and advisories about the Company, and information readily obtainable

on the Internet. Plaintiff believes that substantial evidentiary support will exist for the allegations

set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by SolarEdge’s directors and officers from February 13, 2023 through October 19, 2023, both

dates inclusive (the “Relevant Period”).

       2.      SolarEdge is a solar energy company that designs, produces, and distributes solar

power systems, specifically direct current (“DC”) optimized inverter solutions for photovoltaic

(“PV”) systems. Using special solar panels referred to as PV panels, PV systems absorb sunlight

and subsequently convert the solar energy into electricity, which can then be used directly or stored

in batteries for later use. Among the products and services that SolarEdge produces and sells for

their PV systems are power optimizers, inverters, monitoring services, energy storage, and smart

energy management through a cloud-based monitoring platform.

       3.      SolarEdge’s business mainly derives from selling its products to intermediaries,

namely large distributors, wholesalers, and large solar installers. These customers (“Distributors”)



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subsequently then resell, or sell through, the products to installers, engineering, procurement, and

construction firms. These firms then install the products to provide solar energy to residential and

commercial properties, as well as utility plants. However, despite the passing along of SolarEdge’s

products through the supply chain, SolarEdge recognizes revenue as the time their Distributors

receive product, as opposed to when the product has been sold through.

         4.      SolarEdge splits its business into three distinct regions: the United States, Europe,

and the Rest of the World (“ROW”). Within these three regions, Europe generates the vast majority

of SolarEdge’s revenue. In 2022 alone, Europe was responsible for 54.3% of SolarEdge’s

revenues. This number increased the following year, with 64% of SolarEdge’s revenues being

generated within Europe. This was repeatedly represented to investors throughout the Relevant

Period, with Defendant Danziger, at the time the Company’s Director of Investor Relations and

Finance Operations, informing investors that large amounts of product are “sold primarily in

Europe.”

         5.      Throughout the Relevant Period, the Company continually touted its success and

strength of demand within the European market. The Relevant Period starts on February 13, 2023,

when the Company held its investor earnings call (the “FY 2022 Earnings Call”) for the fourth

quarter and full year for the fiscal year ended December 31, 2022 (the “2022 Fiscal Year”). On the

FY 2022 Earnings Call, Defendant Lando, the Company’s Chief Executive Officer (“CEO”),

repeatedly praised the Company’s revenues in Europe, stating, inter alia: “A key highlight of 2022

was the growth of our revenues coming from Europe, which grew by over 89% year over year,” 1

“we continue to see very strong demand from Europe for all products and relatively low inventory




1
    All emphasis is added unless otherwise noted.



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levels in the channel,” and “as far as we can see the market is – the demand is good, and the

market is strong.”

       6.      However, plaintiff’s counsel in the Securities Class Action (defined below)

interviewed nine former employees of SolarEdge (the “CWs”), who confirmed that, contrary to

what was being represented by the Company, business in Europe was not only struggling

throughout the Relevant Period, but the Individual Defendants were aware of it. Indeed, the CWs

revealed that the reason SolarEdge was not only performing so well in Europe, but even hitting its

revenue targets at all, was due to a practice of forcing Distributors to take unneeded products at

the end of a financial quarter (the “Unneeded Product Misconduct”). The Company achieved this

by shipping product to Distributors early, giving Distributors additional time to pay by extending

payment periods, and offering “free carrier shipping terms” to Distributors, allowing the Company

to get product off its books and transfer ownership of the product before the product was even

shipped. This allowed SolarEdge to recognize the orders as revenue, thus artificially increasing the

revenue at the end of the quarter.

       7.      These practices had more ramifications than just artificially inflated revenues

however, as by forcing Distributors to take product that they could not sell, SolarEdge was also

inflating the amount of product within Distributor inventories (“Channel Inventories”). The

oversaturation of the Channel Inventories also caused the Company’s internal inventory for

products that were ready for sale (“Finished Goods Inventory”) to oversaturate as well. For

example, prior to the start of the Relevant Period, the Finished Goods Inventory held $202 million

of product. By the end of the first quarter of the fiscal year ended December 31, 2023 (the “2023

Fiscal Year”), that amount had grown to $303 million, an increase of 64.4%. By the end of the

second quarter of the 2023 Fiscal Year, that number had risen even more to $487 million, a further




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increase of 46.4%. By the end of the third quarter of the 2023 Fiscal Year, just before the end of

the Relevant Period, the Finished Goods Inventory had grown to an astronomical $731 million, a

total increase of 261.9% from the start of the Relevant Period.

       8.      On August 1, 2023, after the market had closed, the truth began to emerge when

SolarEdge hosted its investor earnings call for the second quarter of the 2023 Fiscal Year (the “2Q

2023 Earnings Call”). The 2Q 2023 Earnings Call revealed that the Company was experiencing a

drop in demand as well as excess Channel Inventory in Europe, contrary to the Company’s prior

assertions. Specifically, Defendant Lando stated that “[t]he solar market is going through a

transition, emerging from the recent period of component shortages, high energy prices, and rapid

growth to one now impacted by higher interest rates and excess inventory.” The reason for the

excess inventory was, according to Defendant Lando, because “growth in demand has tapered

off, distributors are taking a more cautious approach in order to better manage their cash flow.”

       9.      The news of excess inventory and low demand impacted the financial guidance for

the upcoming third quarter. Defendant Faier, the Company’s Chief Financial Officer (“CFO”),

revealed that there was an estimated decline in revenues, down from $947.4 million in the second

quarter to between $850 million and $890 million for the third quarter, as well as a gross margin

decline from 34.7% to between 30% and 33%. The Individual Defendants attempted to ease any

potential concerns with the disappointing guidance by continuing to conceal crucial information

to investors. In trying to downplay his earlier comments, Defendant Lando stated that European

market’s general strength was only “somewhat more moderate than what was anticipated heading

into 2023,” and that “[i]n Europe, installation rates continue to be high in both residential and

commercial,” “our growth in Europe in the second quarter was very strong,” and that “sell-

through by our distributors in the second quarter was up.”




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       10.     However, the Company’s stock price still took a hit. On this news, the Company’s

share price dropped $43.96 per share, or 18.3%, from a closing price of $239.47 per share on

August 1, 2023, to close at a price of $195.51 per share on August 2, 2023.

       11.     The truth did not fully emerge until October 19, 2023. That day, after the markets

closed, the Company published a press release announcing its preliminary financial results for the

third quarter of the 2023 Fiscal Year (the “3Q 2023 Press Release”). The 3Q 2023 Press Release

revealed that “[d]uring the second part of the third quarter of 2023, we experienced substantial

unexpected cancellations and pushouts of existing backlog from our European distributors.” The

3Q 2023 Press Release further revealed that “third quarter revenue, gross margin and operating

income will be below the low end of the prior guidance range,” and that the Company “anticipates

significantly lower revenues in the fourth quarter of 2023.” This information caught investors by

shock as the Individual Defendants had continued to reassure investors that “underlying demand

for solar is very, very strong,” and that “the data we see from our distributors is continuing to

show significant growth in terms of sell-throughs into Europe” less than a month prior.

       12.     On this news, the Company’s share price dropped a further $31.08 per share, or

27.2%, from a closing price of $113.98 per share on October 19, 2023 to close at a price of $82.90

per share on October 20, 2023.

       13.     During the Relevant Period, the Individual Defendants made and/or caused the

Company to make to the investing public a series of materially false and misleading statements

regarding the business, operations, and prospects of the Company. Specifically, the Individual

Defendants improperly failed to disclose, inter alia, that: (1) the reason the Company was not only

hitting “record” revenues, but simply just reaching financial goals, was because the Company was

forcing unneeded products on Distributors at the end of the fiscal quarters; (2) demand in Europe,




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the Company’s most valuable region, was severely declining (3) by forcing unneeded products on

Distributors who had a declining demand, the Finished Goods Inventory and Channel Inventories

were ballooning to unsustainable levels; (4) SolarEdge’s sell-through projections (i.e., sales from

the Company’s Distributors to installers and other end users) were artificially inflated as they were

not based on either market reports nor the Company’s internal data; (5) as a result of the foregoing,

the Individual Defendants were aware of, or should have been aware of, the risk of Channel

Inventories rising to a level such that Distributors would need to cancel and/or push out their

current orders; (6) as a result Company revenues would plummet; and (7) the Company failed to

maintain internal controls. As a result of the foregoing, the Company’s public statements were

materially false and misleading at all relevant times.

       14.     The Individual Defendants failed to correct and/or caused the Company to fail to

correct these false and misleading statements and omissions of material fact to the investing public

while, during the Relevant Period, one of the Individual Defendants sold Company shares at

inflated prices for combined total proceeds of approximately $16,710.

       15.     Additionally, the Individual Defendants willfully or recklessly caused the Company

to fail to maintain adequate internal controls and participated and/or facilitated the Company’s

participation in the Unneeded Product Misconduct.

       16.     In light of the Individual Defendants’ misconduct—which has negatively impacted

the value of the Company and subjected the Company, its CEO, its CFO, its Director of Investor

Relations and Finance Operations, and its Head of Investor Relations to a consolidated federal

securities class action lawsuit currently pending in the United States District Court for the Southern

District of New York (the “Securities Class Action”), and which has further subjected the

Company to the need to undertake internal investigations, the need to remedy the Unneeded




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Product Misconduct, the need to implement adequate internal controls, and losses due to the unjust

enrichment of the Individual Defendants who were improperly overcompensated by the Company

and/or who benefitted from the wrongdoing alleged herein—the Company will have to expend

many millions of dollars.

       17.     The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

       18.     In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, of the collective engagement in fraud and

misconduct by the Company’s directors, of the collective engagement in and/or facilitation of the

Company’s engagement in the Unneeded Product Misconduct, of the substantial likelihood of the

directors’ liability in this derivative action and of Defendant Lando’s, Defendant Faier’s,

Defendant Danziger’s, and Defendant Lowe’s liability in the Securities Class Action, and of their

not being disinterested and/or independent directors, a majority of the Company’s Board of

Directors (“Board”) cannot consider a demand to commence litigation against themselves on

behalf of the Company with the requisite level of disinterestedness and independence.

                                JURISDICTION AND VENUE

       19.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C. §

78n(a)(1)), Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9, Section 10(b) of the Exchange

Act, 15 U.S.C. § 78j(b), and Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), and raise a

federal question pertaining to the claims made in the Securities Class Action based on violations

of the Exchange Act.




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       20.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       21.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       22.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

and the Defendants have received substantial compensation in this District by engaging in

numerous activities that have had an effect in this District.

                                             PARTIES

       Plaintiff

       23.     Plaintiff is a current shareholder of SolarEdge. Plaintiff has continuously held

SolarEdge common stock at all relevant times.

       Nominal Defendant SolarEdge

       24.     Nominal Defendant SolarEdge is a Delaware corporation with its principal

executive offices located at 1 HaMada Street, Herziliya Pituach, 4673335, Israel. SolarEdge shares

trade on the Nasdaq Global Market (“NASDAQ”) under the ticker symbol “SEDG.”

       Defendant Lando

       25.     Defendant Lando has served as CEO of the Company and as a Company director

since February 2020. Prior to being CEO, Defendant Lando was Vice President of Global Sales

for the Company from 2009 until 2019, when Defendant Lando was named as interim CEO for

the Company. According to the Company’s proxy statement filed on Schedule 14A with the SEC

on April 26, 2024 (the “2024 Proxy Statement”), as of April 8, 2024, Defendant Lando beneficially

owned 102,087 shares of the Company’s common stock. Given that the price per share of the




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Company’s stock at the close of trading on April 8, 2024 was $66.95, Defendant Lando

beneficially owned approximately $6.8 million worth of SolarEdge stock as of that date.

       26.     For the 2023 Fiscal Year, Defendant Lando received $7,500,450 in total

compensation from the Company. This included $816,851 in salary, $6,558,293 in stock awards,

and $125,306 in all other compensation.

       27.     The 2024 Proxy Statement states the following about Defendant Lando:

               Mr. Lando joined SolarEdge in 2009 as our Vice President, Global Sales.

               We announced the appointment of Mr. Lando as our Acting Chief Executive
               Officer in August 2019 and as a director of our Board of Directors and
               permanent CEO on February 9, 2020. Mr. Lando had previously spent 16
               years at Applied Materials, a materials engineering company focused on
               semiconductor, flat panel display and solar photovoltaic industries, based in
               Santa Clara, California, where he held several positions, including process
               engineer for metal deposition and chemical vapor deposition systems,
               business manager for the Process Diagnostic and Control Group. His last
               position at Applied Materials was Vice President and General Manager of
               Baccini Cell Systems Division of the Solar Business Group, which he held
               from January 2008 to March 2009. Mr. Lando holds a B.S. in Chemical
               Engineering from the Technion, Israel’s Institute of Technology in Haifa,
               and is the author of several publications in the field of chemical deposition.

               Mr. Lando’s historical knowledge of our company and his experience at
               other technology companies provides a valuable perspective to our Board.

       Defendant Faier

       28.     Defendant Faier has served as the CFO of the Company since 2011. According to

the 2024 Proxy Statement, as of April 8, 2024, Defendant Faier beneficially owned 118,750 shares

of the Company’s common stock. Given that the price per share of the Company’s stock at the

close of trading on April 8, 2024 was $66.95, Defendant Faier beneficially owned approximately

$7.9 million worth of SolarEdge stock as of that date.




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         29.      For the 2023 Fiscal Year, Defendant Faier received $2,802,322 in total

compensation from the Company. This included $503,614 in salary, $2,219,298 in stock awards,

and $79,410 in all other compensation.

         30.      During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Faier made the following sale of Company

stock:

           Date              Number of Shares          Avg. Price/Share            Proceeds
     June 1, 2023                    57                    $293.16                  $16,710


Thus, in total, before the fraud was exposed, he sold 57 shares of Company stock on inside

information, for which he received approximately $16,710 in proceeds. His insider sale, made with

knowledge of material nonpublic information before the material misstatements and omissions

were exposed, demonstrate his motive in facilitating and participating in the scheme.

         31.      The 2024 Proxy Statement stated the following about Defendant Faier:

         Mr. Faier joined SolarEdge in 2011 as our Chief Financial Officer. Prior to joining
         SolarEdge, Mr. Faier served from 2008 to 2010 as the chief financial officer of
         Modu Ltd, a privately owned Israeli company. Between 2004 and 2007, Mr. Faier
         held several senior finance positions, including chief financial officer at M-Systems
         prior to its acquisition by SanDisk Corporation in 2006. Previously, Mr. Faier
         served as corporate controller of VocalTec Communications Ltd. Mr. Faier holds a
         CPA (Israel) license, an MBA (with Honors) from Tel Aviv University and a B.A.
         in Accounting and Economics from the Hebrew University in Jerusalem. Mr. Faier
         currently serves on the board of directors of Monday.com Ltd and Kaltura Inc.

         Defendant Danziger

         32.      Defendant Danziger has served as the Company’s Director of Investor Relations

and Finance Operations from before the beginning of the Relevant Period until at least June 2021.

At all times during the Relevant Period, Defendant Danziger was authorized to speak, and at times

did speak, to investors and analysts on behalf of the Company.




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       Defendant Lowe

       33.     Defendant Lowe has served as the Company’s Head of Investor Relations

throughout the Relevant Period. At all times during the Relevant Period, Defendant Lowe was

authorized to speak, and at times did speak, to investors and analysts on behalf of the Company.

       Defendant Atkins

       34.     Defendant Atkins has served as a Company director since 2021. She also serves as

the Chair of the Nominating and Corporate Governance Committee, as a member of the

Technology Committee, and as a member of the Compensation Committee. According to the 2024

Proxy Statement, as of April 8, 2024, Defendant Atkins beneficially owned 2,620 shares of the

Company’s common stock. Given that the price per share of the Company’s stock at the close of

trading on April 8, 2024 was $66.95, Defendant Atkins beneficially owned approximately

$175,409 worth of SolarEdge stock as of that date.

       35.     For the 2023 Fiscal Year, Defendant Atkins received $297,330 in total

compensation from the Company. This included $102,500 in fees earned or paid in cash and

$194,830 in stock awards.

       36.     The 2024 Proxy Statement stated the following about Defendant Atkins:

       Ms. Atkins has served as a member of our Board of Directors since 2021.

       Ms. Atkins is a seasoned business-woman and serial entrepreneur with two decades
       of experience serving on some of the world’s most visible global public company
       boards. She served as the CEO of Baja Corporation, an independent venture capital
       firm focused on technology, renewable energy and life sciences, since 1994. She
       has previously served as CEO and Chairperson of SaaS company Clear Standards,
       Inc., an energy management and sustainability software company, a position she
       held between February and August 2009. She also served as CEO of Key
       Supercomputer, focused on seismic analytics, applying AI machine learning
       technology to pinpoint reserves using predictive and prescriptive analytics, between
       2008 and 2010 and as CEO of NCI, Inc., a food manufacturer creating Nutraceutical
       and Functional Food products.




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In addition, Ms. Atkins is a highly acclaimed public company Board Director and
author. For 20 years, she has worked behind the scenes at companies like Schneider,
Lucent, Vonage, SunPower Corp, Paychex and Nasdaq Inc. Ms. Atkins started her
business career as an entrepreneur co-founding several successful high tech, energy
and consumer companies including Ascend Communications. Ms. Atkins is an
effective operational leader, having served as CEO three times and she has a strong
global and operational perspective encompassing the full range of experience from
growth to restructuring and is a recognized ESG and Governance thought leader.
Her corporate board experience covers industries including Technology, Energy
Management, Solar, Industrial Automation, Manufacturing, Automotive, and
Logistics.

Ms. Atkins brings the knowledge of leveraging next gen digital technologies, is an
innovative entrepreneur for tech enablement for the future of work for
manufacturing 4.0 initiatives (i.e. applying industrial Internet of Things, or IIoT,
for preventative maintenance in the Industrial, Automotive, and Aerospace sectors).
Ms. Atkins has a global, broad perspective on energy from her role as Lead Director
at SunPower Corporation, the renewable solar company, and Schneider Electric,
SA, the energy efficiency infrastructure monitoring and industrial automation
process control company, where she served from 2005 to 2012 and 2011 to 2019,
respectively. She also served on the boards of Covetrus, Inc. and its predecessor,
Vets First Choice, a pharmaceutical company, from February 2016 until September
2019, Cognizant Technology Solutions Corporation, an information technology
services company, from April 2017 to October 2018 and HD Supply, Inc., an
industrial distributor, from September 2013 to April 2018. Her areas of experience
include Artificial Intelligence, Seismic Analytics, Internet of Things (IoT), using
technology to digitize processes driving accuracy and productivity, Cyber Security,
Mobile and SaaS. Ms. Atkins currently serves on the public boards of Wynn
Resorts, Limited, and Enovix Corporation. Ms. Atkins also serves on the public
board of SL Green Realty Corp but has informed SL Green Realty Corp that she
will be resigning from her directorship effective from the date her successor is duly
elected and qualified in SL Green Realty Corp’s 2024 annual meeting of
stockholders.

Ms. Atkins holds a degree in liberal arts from the University of Massachusetts,
Magna Cum Laude.

Ms. Atkins brings to the Board valuable business experience through her years of
experience as a chief executive officer with technology and energy companies, her
extensive experience in ESG, and her experience as a director of other public
companies.

Defendant Gani




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        37.      Defendant Gani has served as a Company director since 2015. He also serves as the

Chair of the Audit Committee. According to the 2024 Proxy Statement, as of April 8, 2024,

Defendant Gani beneficially owned 29,049 shares of the Company’s common stock. Given that

the price per share of the Company’s stock at the close of trading on April 8, 2024 was $66.95,

Defendant Gani beneficially owned approximately $1.9 million worth of SolarEdge stock as of

that date.

        38.      For the 2023 Fiscal Year, Defendant Gani received $297,330 in total compensation

from the Company. This included $102,500 in fees earned or paid in cash and $194,830 in stock

awards.

        39.      The 2024 Proxy Statement stated the following about Defendant Gani:

        Mr. Gani has served as a member of our Board of Directors since 2015.

        Since 2009, Mr. Gani has served as an independent consultant to various start-up
        companies, and between November 2009 and June 2010 acted as chief executive
        officer for New Pax, a private company. From 2005 to 2009, Mr. Gani lectured at
        Santa Clara University, where he taught classes on accounting and finance. In 1997,
        Mr. Gani joined Juniper Networks, Inc. where he served as chief financial officer
        and executive vice president from December 1997 to December 2004, and as chief
        of staff from January 2005 to March 2006. Prior to joining Juniper, Mr. Gani served
        as Chief Financial Officer at various companies, including NVIDIA Corporation,
        Grand Junction Networks, Primary Access Corporation and Next Computers. Mr.
        Gani served as corporate controller at Cypress Semiconductor from 1991 to 1992.
        Prior to joining Cypress Semiconductor, Mr. Gani worked at Intel Corporation from
        1978 to 1991. Mr. Gani holds a B.A. in Applied Mathematics from Ecole
        Polytechnique Federal and an M.B.A. from University of Michigan, Ann Arbor.

        Mr. Gani brings valuable financial and business experience to our Board through
        his years of experience as a chief financial officer with public companies and past
        experience as a director of other public companies.

        Defendant Gross

        40.      Defendant Gross has served as a Company director since 2023. She also serves as

a member of the Audit Committee. According to the 2024 Proxy Statement, as of April 8, 2024,




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Defendant Gross beneficially owned 969 shares of the Company’s common stock. Given that the

price per share of the Company’s stock at the close of trading on April 8, 2024 was $66.95,

Defendant Gross beneficially owned approximately $66,875 worth of SolarEdge stock as of that

date.

        41.    For the 2023 Fiscal Year, Defendant Gross received $368,686 in total compensation

from the Company. This included $41,250 in fees earned or paid in cash and $327,436 in stock

awards.

        42.    The 2024 Proxy Statement stated the following about Defendant Gross:

        Ms. Gross has served as a member of our Board of Directors since 2023.

        Ms. Gross brings over 25 years of strategic and financial expertise to the Board of
        Directors from technology companies ranging from fintech to AI. Ms. Gross is
        Head of Strategic Initiatives at Fiverr International Ltd., an online marketplace,
        since 2022. She previously served as Chief Operating Officer of Prospera
        Technologies, an AI Agtech company, between 2016 and 2021 and later as Chief
        Strategy Officer (CSO) at Prospera Technologies between 2021 and 2023. She has
        also previously held the role of Chief Financial Officer at eToro, a fintech company,
        and has served on the boards of such companies as M-Systems, AudioCodes, and
        Power Dsine. She was also a venture partner at one of Israel's leading venture
        capital fund, Viola Ventures. Ms. Gross has also held various executive
        management positions at M-Systems from 1992 to 2006, when it was ultimately
        acquired by SanDisk, and as CEO of Btendo, a start-up company that developed
        MEMS based PICO projection solutions, until it was acquired by ST
        Microelectronic in 2012. Ms. Gross holds a BSc in Industrial Engineering from Tel
        Aviv University and an MBA from San Jose University.

        Ms. Gross brings valuable financial, strategic and business experience to our Board
        through her years of experience in both executive financial and strategic roles at
        public companies.

        Defendant Hoke

        43.    Defendant Hoke has served as a Company director since 2022. He also serves as a

member of the Nominating and Corporate Governance Committee. According to the 2024 Proxy

Statement, as of April 8, 2024, Defendant Hoke beneficially owned 1,761 shares of the Company’s




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common stock. Given that the price per share of the Company’s stock at the close of trading on

April 8, 2024 was $66.95, Defendant Hoke beneficially owned approximately $117,899 worth of

SolarEdge stock as of that date.

       44.     For the 2023 Fiscal Year, Defendant Hoke received $272,330 in total compensation

from the Company. This included $77,500 in fees earned or paid in cash and $194,830 in stock

awards.

       45.     The 2024 Proxy Statement stated the following about Defendant Hoke:

       Mr. Hoke has served as a member of our Board of Directors since 2022.

       Mr Hoke has a career that spans almost 30 years and five continents in various
       industries. Since 2022 Mr. Hoke has served as the Chief Executive Officer of
       Volocopter, a pioneer of the Urban Air Mobility (UAM), launching first
       commercial operation in 2024. Prior to this role, Mr. Hoke served from 2016 until
       2021 as the Chief Executive Officer of Airbus Defence and Space, a provider of
       defense, space, and security systems and also served as a member of Airbus’ Global
       Executive Committee. Prior to that, he held various executive positions at Siemens,
       including General Manager for the Transrapid Propulsion and Power Supply
       Subdivision, President of Siemens Transportation Systems China, Chief Executive
       Officer of Siemens Africa, Chief Executive Officer Industrial Solutions, Chief
       Executive Officer Customer Services and Chief Executive Officer Large Drives.

       Mr. Hoke resides in Germany and serves on the Board of Advisors of Voyager
       Space and on the Board of Directors of Spire Global.

       He holds a degree in Mechanical Engineering from the Technical University of
       Brunswick, Germany and is an Alumni of the Young Global Leader Program of the
       World Economic Forum.

       Mr. Hoke brings valuable business experience to our Board through his years of
       experience as a chief executive officer with technology companies and experience
       as a director of other public companies.

       Defendant More

       46.     Defendant More has served as a Company director since 2006. He also serves as

the Chair of the Compensation Committee and the Chair of the Technology Committee. According

to the 2024 Proxy Statement, as of April 8, 2024, Defendant More beneficially owned 77,446




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shares of the Company’s common stock. Given that the price per share of the Company’s stock at

the close of trading on April 8, 2024 was $66.95, Defendant More beneficially owned

approximately $5.1 million worth of SolarEdge stock as of that date.

        47.    For the 2023 Fiscal Year, Defendant More received $309,622 in total compensation

from the Company. This included $114,792 in fees earned or paid in cash and $194,830 in stock

awards.

        48.    The 2024 Proxy Statement stated the following about Defendant More:

        Mr. More has served as a member of our Board of Directors since 2006.

        Mr. More was the sole seed investor in the Company through his fund, ORR
        Partners, and participated in all successive rounds. Mr. More continues to invest in
        technology companies, with ORR Partners, Innoventions Capital and More Family
        Investments entities. Previously, Mr. More was the president and chief executive
        officer of CompuCom Systems Inc. from 1989 to 1993. Mr. More currently serves
        on the board of directors of several private companies, BuzzStream, AppDome,
        HolistiCyber Ltd., senseIP, and SageCyber.

        Mr. More’s historical knowledge of our company and his experience as a director
        of other technology companies provides a valuable perspective to our Board.

        Defendant Payne

        49.     Defendant Payne has served as a Company director since 2015. She also serves as

a member of the Audit Committee. According to the 2024 Proxy Statement, as of April 8, 2024,

Defendant Payne beneficially owned 3,227 shares of the Company’s common stock. Given that

the price per share of the Company’s stock at the close of trading on April 8, 2024 was $66.95,

Defendant Payne beneficially owned approximately $216,048 worth of SolarEdge stock as of that

date.

        50.    For the 2023 Fiscal Year, Defendant Payne received $277,330 in total

compensation from the Company. This included $82,500 in fees earned or paid in cash and

$194,830 in stock awards.




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       51.    The 2024 Proxy Statement stated the following about Defendant Payne:

       Ms. Payne has served as a member of our Board of Directors since 2015.

       Tal Payne brings over 15 years of financial management experience. She previously
       served as Chief Financial Officer at Check Point Software Technologies Ltd., a
       leading provider of cyber security solutions to governments and corporate
       enterprises globally from 2008 to 2023. During her tenure, Ms. Payne has held the
       position of Chief Financial and Operations Officer from 2015, overseeing the
       company’s global operations and finance, including investor relations, legal,
       treasury,                 purchasing                  and                 facilities.
       Ms. Payne served as Chief Financial Officer at Gilat Satellite Networks Ltd., where
       she held the role of Vice President of Finance for over five years.

       She began her career as a CPA in public accounting at Pricewaterhouse Coopers.
       Ms. Payne holds a B.A. in Economics and Accounting and an Executive M.B.A.,
       both from Tel Aviv University. Ms. Payne served on the board of IronSource Ltd.
       between 2021 and until 2023, when Ironsource merged with Unity Software Inc.

       Ms. Payne brings valuable financial and business experience to our Board through
       her years of experience as a chief financial officer with publicly traded companies.

       Defendant Zafrir

       52.    Defendant Zafrir has served as a Company director since 2019. He also serves as

the Chair of the Board, as a member of the Compensation Committee, as a member of the

Nominating and Corporate Governance Committee, and as a member of the Technology

Committee. According to the 2024 Proxy Statement, as of April 8, 2024, Defendant Zafrir

beneficially owned 7,515 shares of the Company’s common stock. Given that the price per share

of the Company’s stock at the close of trading on April 8, 2024 was $66.95, Defendant Zafrir

beneficially owned approximately $503,129 worth of SolarEdge stock as of that date.

       53.    For the 2023 Fiscal Year, Defendant Zafrir received $968,813 in total compensation

from the Company. This included $425,000 in fees earned or paid in cash and $543,813 in stock

awards.

       54.    The 2024 Proxy Statement stated the following about Defendant Zafrir:




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       Mr. Zafrir joined our Board of Directors in 2019 and serves as the Chairperson.

       Bringing thirty years of experience in management, leadership, and technology
       innovation, Mr. Zafrir has been the co-founder and Managing Partner of Team8, a
       global venture group that builds and backs technology companies at the intersection
       of artificial intelligence, cybersecurity, data, fin-tech, enterprise software, and
       infrastructure since 2014. Prior to founding Team8, Nadav spent 20 years in the
       Israel Defense Forces. He served as Commander of Unit 8200, Israel’s elite military
       technology unit, where he established the Israel Defense Forces Cyber Command.
       He holds an LLB from the Interdisciplinary Center Herzliya (IDC) and an
       Executive MBA from the Kellogg - Recanati program of the Kellogg Graduate
       School of Business at Northwestern University in Chicago and the Recanati School
       of Business at Tel Aviv University.

       Mr. Zafrir’s technological expertise and former work experience with some of our
       senior management provides our board and the management team with helpful and
       valuable contribution insights into the business and technology development
       discussions which further strengthens our executive management.

       Relevant Non-Parties

       55.     The Securities Class Action captioned In re Solaredge Technologies, Inc. Securities

Litigation, No.: 1:23-cv-09748-GHW, in the United States District Court for the Southern District

of New York, incorporates statements from former employees of SolarEdge who offered their

experiences as confidential witnesses. 2 The following are the confidential witnesses whose

statements are referenced throughout this complaint before this Court.

       CW1

       56.     CW1 worked as a SolarEdge business intelligence administrator in the Company’s

Milpitas, California office (“Milpitas”) from May 2022 through October 2023. While at

SolarEdge, CW1 reported to Shimon Kringel (“Kringel”), the Vice President of Operations in

North America at the time. Kringel reported to Peter Matthews (“Matthews”), the North America

General Manager, who reported directly to Defendant Lando. In his role as a business intelligence



2
 As was done in the Securities Class Action, all confidential witnesses are referred to in the
masculine to preserve their anonymity.



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administrator, CW1 would retrieve information from databases for employees in various

departments including Finance, Operations, Sales, Sales Operations, and Logistics (referred to as

“stakeholders”). Most stakeholders were at the vice president level (the same level as Kringel) and

would ask for information concerning products, including information regarding inventory levels,

which CW1 would retrieve from the Company’s internal database. CW1 either worked with

developers to create dashboards reflecting the information sought, or he would give it directly to

the stakeholder searching for the information. At the end of each quarter, CW1 would participate

on calls with the Company’s Business Intelligence team in Israel, where he was able to provide

updates on the North America business. CW1 would subsequently be directed to create additional

new information dashboards during the following quarter.

       CW2

       57.     CW2 worked as a regional sales manager at SolarEdge for five years, from August

2018 to March 2023. CW2 mainly ran sales in various parts of North America, mostly in different

areas in Canada, the Northeast United States, and the Caribbean. Despite being based out of the

United States, CW2 would interact with SolarEdge sales executives from Europe at various

Company functions and meetings, such as “big sales week parties” in which SolarEdge would

bring “all the top people to Israel,” which gave CW2 the opportunity to “interact with counterparts

in regions” outside the North America region. CW2 met regional directors and sales managers

from Europe, including the Europe General Manager Alfred Karlstetter (“Karlstetter”).

       CW3

       58.     CW3 worked for SolarEdge as an executive assistant for one year, from August

2021 to August 2022. He worked in Milpitas under Vice President North America Sales/General

Manager – Solar Business Unit Amir Cohen (“Cohen”), who reported to Matthews. CW3’s




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responsibilities included working for the entire sales team, participating in sales calls, taking notes,

and capturing “action items.” CW3 would then coordinate follow-up tasks from the sales calls and

handled various other administrative assignments.

        CW4

        59.     CW4 worked for SolarEdge for approximately eight years, from May 2015 until

December 2023, working in various roles over that time. These roles included as a Commercial

Sales Manager from May 2015 until January 2017, as the Company’s Director of National Sales

– Commercial and Industrial Division (“C&I”) from January 2017 until May 2021, and as the

Senior Director of National Sales – C&I from May 2021 until December 2023. In his various roles,

CW4 worked near Washington, D.C., and reported both directly to Cohen, as well as to

SolarEdge’s headquarters in Israel via “dotted line.” CW4 stated that he took direction directly

from Defendant Lando; Chief Revenue Officer Daniel Huber (“Huber”); Vice President – Global

Sales Alon Barel (“Barel”); and Vice President and General Manager – Commercial Business Unit

Naama Ohana (“Ohana”), as well as others on the executive team. CW4 would interact directly

with Matthews, Cohen, and Ohana to discuss forecasting. Ohana would report to Huber, who

reported directly to Defendant Lando. While working as Director of National Sales, CW4 would

target Distributors like engineering firms; engineering, procurement and construction firms;

electrical contractors; operations and maintenance providers; financiers and project owners.

        CW5

        60.     CW5 worked for SolarEdge for approximately eight years as a Sales and Operations

Associate – Strategic Accounts/Account Management from March 2015 until October 2023. CW5

worked out of Milpitas and reported to Operations Senior Manager, Sales Monica Gabel (“Gabel”)

and to Sales and Operations Associate Lead Carolyn Springer (“Springer”), both of whom reported




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to Kringel. CW5 would work directly with Distributors to manage their backlog, including

outstanding shipments, and regularly held meetings with multiple Distributors to discuss their

backlog. CW5 stated that he generated backlog reports every day for the Distributors within the

United States, and he and his teammates would always be aware of the backlog status. These

backlog reports contained orders and shipping dates, and were reviewed by Kringel.

       CW6

       61.     CW6 worked for SolarEdge for approximately six years as a Senior C&I Sales

Manager, Eastern North America and Director C&I Sales, North America, from August 2017 until

October 2023. CW6 worked in New York City and reported to CW4. Like CW4, CW6 would also

attend meetings among sales personnel from Israel. CW6 stated that Karlsetter oversaw

SolarEdge’s European business, and that the Company would host Karlsetter, CW6, and all the

Company’s sales staff in Israel for an annual “global sales week” each January.

       CW7

       62.     CW7 worked for SolarEdge for approximately two years as a Senior Inside Sales

Manager in Milpitas from February 2021 to December 2023. CW7 originally reporter to Cohen,

and later he would report to Vice President of Sales Nick Alex (“Alex”). Alex would then report

to Cohen. CW7 worked with Distributors within the United States and helped manage a team of

sales representatives.

       CW8

       63.     CW8 started with SolarEdge as a Contact Center Manager for North America in

June 2015, overseeing a team of eight employees. CW8 then saw his role “quickly evolve[]” to

include global processes, and he was promoted to Director of Customer Support in 2018 or 2019,

where he now oversaw the work of 200 employees. CW8 originally worked in Milpitas before




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moving to Lexington, Kentucky. CW8 would report to Vice President of Customer Success Martin

Rogers, who reported to Cohen and Matthews. CW8 implemented a number of policies and

processes for North America, which he claims impressed Company leadership in Israel. In his role,

CW8 would travel to various locations, including SolarEdge global call centers in Munich,

Germany and Melbourne, Australia, to help streamline processes and implement customer

relationship management (“CRM”) software. The Company originally used Salesforce for the

CRM software before developing its own open-source CRM using an open-source application

programming interface called SuiteCRM. CW8 also assisted in developing a new application, the

“Set” app, which was an “installer commissioning tool to help streamline the process for

installing.”

        CW9

        64.    CW9 worked for SolarEdge customer and Distributor CED Greentech Bakersfield

(“Greentech”) for approximately seven years from December 2015 until November 2022 as an

operations manager out of Greentech’s Bakersfield, California branch. In his role as operations

manager, CW9 was “mainly in charge of processing,” but also held some sales responsibilities.

               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

        65.    By reason of their positions as officers, directors, and/or fiduciaries of SolarEdge,

and because of their ability to control the business and corporate affairs of SolarEdge, the

Individual Defendants owed SolarEdge and its shareholders fiduciary obligations of trust, loyalty,

good faith, and due care, and were and are required to use their utmost ability to control and

manage SolarEdge in a fair, just, honest, and equitable manner. The Individual Defendants were

and are required to act in furtherance of the best interests of SolarEdge and its shareholders so as

to benefit all shareholders equally.




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       66.     Each director and officer of the Company owes to SolarEdge and its shareholders

the fiduciary duty to exercise good faith and diligence in the administration of the Company and

in the use and preservation of its property and assets and the highest obligations of fair dealing.

       67.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of SolarEdge, were able to and did, directly or indirectly, exercise control

over the wrongful acts complained of herein.

       68.     To discharge their duties, the officers and directors of SolarEdge were required to

exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       69.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

faith, and the exercise of due care and diligence in the management and administration of the

affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and officers of SolarEdge, the absence of good faith on

their part, or a reckless disregard for their duties to the Company and its shareholders that the

Individual Defendants were aware or should have been aware posed a risk of serious injury to the

Company.

       70.     As senior executive officers and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the

NASDAQ, the Individual Defendants had a duty to prevent and not to effect the dissemination of

inaccurate and untruthful information with respect to the Company’s financial condition,

performance, growth, operations, financial statements, business, products, management, earnings,




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internal controls, and present and future business prospects, including the dissemination of false

information regarding the Company’s business, prospects, and operations, and had a duty to cause

the Company to disclose in its regulatory filings with the SEC all those facts described in this

Complaint that it failed to disclose, so that the market price of the Company’s common stock

would be based upon truthful and accurate information.

       71.       To discharge their duties, the officers and directors of SolarEdge were required to

exercise reasonable and prudent supervision over the management, policies, practices, and internal

controls of the Company. By virtue of such duties, the officers and directors of SolarEdge were

required to, among other things:

                 (a)    ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware and the United States, and

pursuant to SolarEdge’s own Employee Code of Conduct (the “Employee Code of Conduct”) and

Code of Business Conduct and Ethics for Members of the Board of Directors (the “Director Code

of Conduct”) (collectively, the “Codes of Conduct”);

                 (b)    conduct the affairs of the Company in an efficient, business-like manner so

as to make it possible to provide the highest quality performance of its business, to avoid wasting

the Company’s assets, and to maximize the value of the Company’s stock;

                 (c)    remain informed as to how SolarEdge conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;

                 (d)    establish and maintain systematic and accurate records and reports of the

business and internal affairs of SolarEdge and procedures for the reporting of the business and




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internal affairs to the Board and to periodically investigate, or cause independent investigation to

be made of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that SolarEdge operations would comply with all

applicable laws and SolarEdge financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate

disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         72.   Each of the Individual Defendants further owed to SolarEdge and the shareholders

the duty of loyalty requiring that each favor SolarEdge interest and that of its shareholders over

their own while conducting the affairs of the Company and refrain from using their position,

influence or knowledge of the affairs of the Company to gain personal advantage.

         73.   At all times relevant hereto, the Individual Defendants were the agents of each other

and of SolarEdge and were at all times acting within the course and scope of such agency.




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       74.     Because of their advisory, executive, managerial, and directorial positions with

SolarEdge, each of the Individual Defendants had access to adverse, non-public information about

the Company.

       75.     The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by SolarEdge.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       76.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and assisted each other in breaching their respective duties.

       77.     The purpose and effect of the conspiracy, common enterprise, and common course

of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, and violations of the

Exchange Act; (ii) conceal adverse information concerning the Company’s operations, financial

condition, legal compliance, future business prospects and internal controls; and (iii) artificially

inflate the Company’s stock price.

       78.     The Individual Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company purposefully or recklessly to conceal material

facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance of this

plan, conspiracy, and course of conduct, the Individual Defendants collectively and individually

took the actions set forth herein. Because the actions described herein occurred under the authority

of the Board, each of the Individual Defendants who is a director of SolarEdge was a direct,



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necessary, and substantial participant in the conspiracy, common enterprise, and common course

of conduct complained of herein.

       79.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his or her overall contribution to and furtherance of the wrongdoing.

       80.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants, and of SolarEdge, and was at all times acting within the

course and scope of such agency.

      SOLAREDGE’S CODES OF CONDUCT AND CORPORATE GOVERNANCE

       Employee Code of Conduct

       81.     The Company’s Employee Code of Conduct applies to all “officers and employees”

of the Company and its “subsidiaries . . . and service providers offering services that are similar in

nature to employee services.”

       82.     The Employee Code of Conduct provides:

       Employees are responsible for adhering to the standards in this Code, for raising
       questions if they are in doubt about the best course of action and for reporting
       possible misconduct promptly after it comes to their attention. The Company’s
       General Counsel is responsible for interpreting and applying this Code.

       Unless a particular provision of this Code directs otherwise, if an employee is in
       doubt about the propriety of any action, he or she should discuss it with a
       supervisor, manager, or the General Counsel. An employee who becomes aware
       of any conduct that he or she believes may violate this Code or any applicable law
       is expected to promptly report it to a supervisor, manager, or the General Counsel.
       Contact information for the General Counsel is below.




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       83.      In a section titled “Compliance with Laws,” the Employee Code of Conduct

provides:

       It is the Company’s policy to comply with all laws, rules, regulations, and Company
       policies. It is the personal responsibility of employees to adhere honestly and in
       good faith to the standards and restrictions imposed by those laws, rules,
       regulations, and Company policies. Although no employee is expected to know the
       details of all these laws, rules, and regulations, it is important for employees to have
       a general understanding of the specific laws, rules and regulations that are relevant
       to their areas of responsibility at the Company. Employees should contact the
       General Counsel if they have questions about particular legal requirements or what
       the law permits.

       84.      In a section titled “Fair Dealing and Integrity,” the Employee Code of Conduct

provides:

       Employees are responsible for the integrity and consequences of their actions.
       Employees are expected to strive to attain the highest level of personal performance
       and productivity and should treat one another with respect and courtesy. All
       employees are required to deal honestly, ethically, and fairly at all times with their
       fellow employees, customers, suppliers, competitors, local communities and other
       third parties.

       The Company seeks to obtain competitive advantages through superior
       performance, never through unethical or illegal business practices. Employees
       should not take unfair advantage of anyone through manipulation, exaggeration,
       concealment, misrepresentation of facts, abuse of confidential or privileged
       information or like practices.

       85.      In a section titled “Insider Trading,” the Employee Code of Conduct provides:

       Federal and state laws prohibit buying, selling, or making other transfers of
       securities by persons who have material nonpublic information about a company.
       Even if not shareholders, these laws prohibit persons with this information from
       disclosing it to others who may trade. “Material information” generally means
       information that there is a likelihood a reasonable investor would consider
       important in deciding whether to buy, hold or sell securities. “Nonpublic
       information” is information that is not generally known or available to the public.
       Insider trading is a crime punishable by civil penalties, criminal fines and prison.
       Companies may also face civil penalties for insider trading violations by their
       employees and other agents.

       Employees may not trade in the securities of any company when they are aware of
       material nonpublic information about that company. This policy against “insider




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       trading” applies to trading in Company securities, as well as to trading in the
       securities of other companies, such as the Company’s customers, distributors,
       suppliers, and companies with which the Company may be negotiating a major
       transaction. In addition, employees may not convey material nonpublic information
       about the Company or another company to others or suggest that anyone purchase
       or sell any company’s securities while they are aware of material nonpublic
       information about that company. This practice, known as “tipping,” may violate the
       securities laws and may result in the same civil and criminal penalties that apply to
       engaging in insider trading directly, even if the employee does not receive any
       money or derive any benefit from trades made by persons to whom the employee
       passed material nonpublic information.

       86.    In a section titled “Maintaining Books and Records and Public Reporting,” the

Employee Code of Conduct provides:

       Employees are expected to maintain books and records in appropriate detail to
       reflect the Company’s transactions accurately, fairly, and completely. The
       Company’s policy of accurate, fair and complete recordkeeping applies to all
       Company records. Documentation relating to a transaction should fully and
       accurately describe the nature of the transaction.

       As a public company, the Company files financial statements and other information
       with the U.S. Securities and Exchange Commission (“SEC”). Employees are
       responsible for the accurate and complete reporting of financial information within
       their respective areas of responsibility and for the timely notification to senior
       management of financial and non-financial information that may be material to the
       Company. Reports and other documents that the Company files with or submits
       to the SEC, and other public communications, should contain full, fair, accurate,
       timely and understandable disclosure.

       87.    In a section titled “Waivers,” the Employee Code of Conduct provides:

       Waivers of certain provisions of this Code will be granted only in exceptional
       circumstances. Employees who believe that a situation may warrant a waiver
       should contact the General Counsel. Any waivers of provisions of this Code for
       executive officers of this Company will be made via request to, and approved only
       by, the Board of Directors of the Company (or Committee thereof) and will be
       disclosed in accordance with applicable law.

       Director Code of Conduct

       88.    The Company’s Director Code of Conduct applies to all directors of the Company.

The Director Code of Conduct states that its purpose:




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       [I]s intended to focus the Board and each director on areas of ethical risk, provide
       guidance to directors to help them recognize and deal with ethical issues, provide
       mechanisms to report unethical conduct, and help foster a culture of honesty and
       accountability. Each director must comply with the letter and spirit of this Code.

       No code or policy can anticipate every situation that may arise. Accordingly, this
       Code is intended to serve as a source of guiding principles for directors. Directors
       are encouraged to bring questions about particular circumstances that may
       implicate one or more of the provisions of this Code to the attention of the Chairman
       of the Audit Committee, who may consult with inside or outside legal counsel, as
       appropriate.
       Directors who also serve as officers of the Company should read this Code in
       conjunction with the Company’s Employee Code of Conduct.

       89.      In a section titled “Director Responsibilities,” the Director Code of Conduct

provides:

       The board represents the interests of stockholders, as owners of a corporation, in
       optimizing long-term value by overseeing management performance on the
       stockholders’ behalf. The board’s responsibilities in performing this oversight
       function include a duty of care and a duty of loyalty.

       A director’s duty of care refers to the responsibility to exercise appropriate
       diligence in overseeing the management of a corporation, making decisions and
       taking other actions. In meeting the duty of care, directors are expected to:

       •     Attend and participate in Board and committee meetings.                Personal
             participation is required. Directors may not vote or participate by proxy.

       •     Remain properly informed about the corporation’s business and affairs.
             Directors should review and devote appropriate time to studying Board
             materials.

       •     Rely on others. Absent knowledge that makes reliance unwarranted, directors
             may rely on Board committees, management, employees, and professional
             advisors.

       •     Make inquiries. Directors should make inquiries about potential problems that
             come to their attention and follow up until they are reasonably satisfied that
             management is addressing them appropriately.

             A director’s duty of loyalty refers to the responsibility to act in good faith and
             in the best interests of the corporation and its stockholders, not the interests of
             the director, a family member or an organization with which the director is
             affiliated. Directors should not use their positions for personal gain. The duty




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             of loyalty may be relevant in cases of conflict of interest (section 2 below), and
             corporate opportunities (section 3 below).

(Emphasis in original).

       90.      In a section titled “Compliance with Laws, rules and regulations; fair dealing” the

Director Code of Conduct provides:

       Directors shall comply, and oversee compliance by employees, officers and other
       directors, with laws, rules and regulations applicable to the Company, including
       insider trading laws. Transactions in Company securities are governed by the
       Company’s Insider Trading Policy.

       Directors shall oversee fair dealing by employees and officers with the Company’s
       customers, suppliers, competitors and employees.

       91.      In a section titled “Compliance procedures; waivers,” the Director Code of Conduct

provides:

       Directors should communicate any suspected violations of this Code promptly to
       the Chairman of the Board or the Chairman of the Audit Committee. Violations
       will be investigated by the Board or by a person or persons designated by the Board
       and appropriate action will be taken in the event of any violations of the Code.

       Any waivers of this Code may only be granted by the Board or the Audit Committee
       after disclosure of all material facts by the director seeking the waiver. Waivers
       will only be granted in exigent circumstances and will be disclosed promptly to
       stockholders.

Principles of Corporate Governance

       92.      SolarEdge has also adopted Principles of Corporate Governance (the “Principles”).

The Principles are intended to serve “as a framework for the governance of the Company.”

       93.      In a section titled “Role of the Board,” the Principles provide:

       The Board of Directors, which is elected by the Company’s stockholders, oversees
       the management of the Company and its business. The Board selects executive
       officers, which are responsible for operating the Company’s business, and monitors
       the performance of the executive officers. Consistent with the oversight function of
       the Board, the Board’s core responsibilities include:




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       • Assessing the performance of the Chief Executive Officer (the “CEO”) and other
       executive officers and setting their compensation;

       • Planning for CEO succession and overseeing the development of executive
       officers;

       • Reviewing the Company’s strategies and monitoring their implementation and
       results;

       • Overseeing the integrity of the Company’s financial statements and the
       Company’s financial reporting process;

       • Overseeing the Company’s processes for assessing and managing risk;

       • Overseeing legal and regulatory compliance;

       • Nominating the Company’s director candidates and appointing committee
       members; and

       • Providing advice and counsel to management regarding significant issues facing
       the Company and reviewing and approving significant corporate actions.

       94.     In a section titled “Strategic Planning,” the Principles state that “[t]he Board

reviews the Company’s long-term strategic plan at least annually and monitors implementation

of the strategic plan throughout the year.”

       95.     In a section titled “Formal Evaluation of the CEO,” the Principals provide:

       The Compensation Committee is responsible for setting annual and long-term
       performance goals for the CEO, evaluating the CEO’s performance against those
       goals, and recommending the CEO’s compensation to the independent directors for
       approval. Both the goals and the evaluation are submitted for consideration by the
       independent directors meeting in executive session. The results of the evaluation
       are shared with the CEO and used by the Compensation Committee in considering
       the CEO’s compensation, which is approved by the independent directors meeting
       in executive session.

       96.     In a section titled “Board and Committee Performance Evaluations,” the Principles

provide:

       The Board conducts an annual self-evaluation to assess its performance. The Audit,
       Nominating/Corporate Governance and Compensation Committees conduct annual
       self- evaluations to assess their performance. In addition, the




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       Nominating/Corporate Governance Committee is responsible for conducting an
       annual evaluation of the performance of each director.

       The Nominating/Corporate Governance Committee is responsible for developing,
       administering and overseeing processes for conducting evaluations.

       97.     In violation of the Codes of Conduct and the Principles, the Individual Defendants

conducted little, if any, oversight of the Individual Defendants’ schemes to engage in the Unneeded

Product Misconduct, to issue materially false and misleading statements to the public and to

facilitate and disguise the Individual Defendants’ violations of law, including but not limited to

breaches of fiduciary duty, unjust enrichment, abuse of control, gross mismanagement, and

violations of the Exchange Act. Moreover, one of the Individual Defendants violated the Employee

Code of Conduct by engaging in insider trading, netting proceeds of approximately $16,710. Also,

in violation of Codes of Conduct and the Principles, the Individual Defendants failed to maintain

the accuracy of SolarEdge’s records and reports, failed to maintain internal controls, and failed to

comply with laws and regulations, conduct business in an honest and ethical manner, and properly

report violations of the Codes of Conduct.

       Audit Committee Charter

       98.     SolarEdge’s Audit Committee Charter (the “Audit Committee Charter”) defines the

responsibilities of the Company’s Audit Committee.

       99.     The Audit Committee Charter states that the purpose of the Audit Committee is to:

       • represent and assist the Board of Directors in discharging its oversight
       responsibility relating to: (i) the accounting and financial reporting processes of the
       Company and its subsidiaries, including the audits of the Company’s financial
       statements and the integrity of the financial statements; (ii) the Company’s
       compliance with legal and regulatory requirements; (iii) the outside auditor’s
       qualifications, independence and performance; and (iv) the design, implementation
       and performance of the Company’s internal audit function; and • oversee
       preparation of the report required by the rules of the SEC to be included in the
       Company’s annual proxy statement.




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       • Meet periodically with outside counsel when appropriate, to review legal and
       regulatory matters, including (i) any matters that may have a material impact on the
       financial statements of the Company and (ii) any matters involving potential or
       ongoing material violations of law or breaches of fiduciary duty by the Company
       or any of its directors, officers, employees, or agents or breaches of fiduciary duty
       to the Company;

       100.      The Audit Committee Charter lists the responsibilities of the Audit Committee, in

relevant part:

       •        Be directly responsible, in its capacity as a committee of the Board, for the
       appointment, compensation, retention and oversight of the work of the outside
       auditor. In this regard, the Audit Committee will appoint and retain (subject to
       ratification by the Company’s stockholders), compensate, evaluate, and terminate
       when appropriate, the outside auditor, which will report directly to the Audit
       Committee.

       •       Oversee implementation of new accounting standards by having the outside
       auditor’s report on a quarterly basis on accounting standards that could impact the
       Company’s business.

       •       Meet to review and discuss with management and the outside auditor the
       annual audited and quarterly financial statements of the Company (including the
       Company’s specific disclosures under “Management’s Discussion and Analysis of
       Financial Condition and Results of Operations”) and the independent auditor’s
       reports related to the financial statements.

       •       Recommend to the Board based on the review and discussion described in
       [the] paragraphs [] above, whether the financial statements should be included in
       the Annual Report on Form 10-K.

       •      Receive reports from the outside auditor and management regarding, and
       review and discuss the adequacy and effectiveness of, the Company’s internal
       controls, including any significant deficiencies in internal controls and significant
       changes in internal controls reported to the Audit Committee by the outside auditor
       or management.

       •     Receive reports from management regarding, and review and discuss the
       adequacy and effectiveness of, the Company’s disclosure controls and procedures.

       •       Review and discuss with the principal internal auditor of the Company: (1)
       the annual audit plan and the adequacy of internal audit resources; and (2) the
       results of the internal audit program.

       •       Annually review and discuss the performance and effectiveness of the
       internal audit function.



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       •       Review and discuss earnings press releases, and corporate practices with
       respect to earnings press releases and financial information and earnings guidance
       provided to analysts and ratings agencies.

       •       Review and discuss the Company’s practices with respect to risk assessment
       and risk management.

       •       Oversee the Company’s compliance program with respect to legal and
       regulatory requirements, including the Company’s code(s) of conduct and the
       Company’s policies and procedures for monitoring compliance; and at least
       annually, meet to review the implementation and effectiveness of the Company’s
       compliance program with the general counsel, who shall have the authority to
       communicate directly to the Audit Committee, promptly, about actual and alleged
       violations of law or the Company’s code(s) of conduct, including any matters
       involving criminal or potential criminal conduct.

       •       Oversee the Company’s compliance program with respect to legal and
       regulatory requirements, including the Company’s code(s) of conduct and the
       Company’s policies and procedures for monitoring compliance; and at least
       annually, meet to review the implementation and effectiveness of the Company’s
       compliance program with the general counsel, who shall have the authority to
       communicate directly to the Audit Committee, promptly, about actual and alleged
       violations of law or the Company’s code(s) of conduct, including any matters
       involving criminal or potential criminal conduct.

       •       Assess the Company’s risk management survey and the underlying internal
       audit plan.

       •     Annually evaluate the performance of the Audit Committee and assess the
       adequacy of the Audit Committee charter.

       101.    In violation of the Audit Committee Charter, Defendants Gani, Gross, and Payne

failed to adequately review and assess the Company’s quarterly earnings press releases; failed to

adequately exercise their risk management and risk assessment functions, including as each related

to the Unneeded Product Misconduct; and failed to ensure adequate Board oversight of the

Company’s internal control over financial reporting, disclosure controls and procedures, and

Codes of Conduct.

                    THE INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Background



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       SolarEdge’s History and Business

       102.    SolarEdge was incorporated in Delaware in 2006 as a solar energy company that

designs, produces, and markets DC optimized inverter solutions for PV systems. While SolarEdge

initially started by targeting the residential markets, the Company has since expanded into the

commercial market, and now even the utility-scale market. In addition to inverters, SolarEdge also

now sells smart energy technology, which allows for energy storage and e-mobility.

       103.    The PV systems that SolarEdge markets contain two components: modules, which

are the part of the solar panels that capture energy from the sun, and inverters. The purpose of an

inverter is to convert DC power into alternating current (“AC”) power, as most homes, generation

plants, and the electric grid are wired to operate under AC. SolarEdge operates its business through

two segments: “Solar” and “All Other.” The Solar segment focuses on the development,

production, and sales of an inverter solution that is intended to maximize power generation, while

the All Other segment focuses on the development, production, and sales of other products,

including energy storage, e-Mobility, and automated machines.

       104.    SolarEdge’s business is split into three geographic regions: The United States,

Europe, and the ROW. Of the three, the majority of SolarEdge’s revenue derives from Europe.

Europe accounted for 54.3% of SolarEdge revenue in the 2022 Fiscal Year, with that share

increasing to 64% in the 2023 Fiscal Year.

       The Unneeded Product Misconduct

       Background on SolarEdge’s Revenue and Inventory Calculations

       105.    SolarEdge mainly sells its products to intermediaries such as distributors, electrical

equipment wholesalers, and large installers within the industry. The Distributors then sell

SolarEdge products down the supply chain to end users such as installers and engineering,




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procurement, and construction firms. When selling its products, SolarEdge claims that they are

“fully functional at the time of shipment to the customer” and therefore “do not require production,

modification, or customization.” However, despite being at the top of the supply chain, SolarEdge

recognizes its revenue upon Distributors receiving products, as opposed to when the Distributors

sell the products through to end users. As such, the Company’s revenues are dependent on how

much product its Distributors take, and not the amount of product that its Distributors are actually

selling or installing.

        106.    When disclosing its inventory within SEC filings, the Company only discloses the

inventory it holds itself, and not the amount of Channel Inventory that its Distributors hold that

has not yet been sold through. As such, the filings solely show SolarEdge’s inventories as “raw

materials,” “work in progress,” and “Finished Goods Inventory.” At the end of 2022, the Company

reported that it held $729 million in inventories, $203 million of which was finished goods.

        107.    At the start of the Relevant Period, the CWs claim that demand for Company

products in Europe had begun to decline, while the Channel Inventory levels began to rise. In order

to ensure the Company hit its revenue targets, employees of the Company were encouraged to

commit the Unneeded Product Misconduct, in which they were instructed to force Distributors to

take on more product.

        Distributors Began to Be Forced to Take Goods

        108.    In the Securities Class Action, the CWs revealed their experiences in both

observing the scheme, as well as being forced to take part. One example is CW2, who stated that

as early as early 2023 he had begun to hear rumblings that regarding “concerns and discussions

that Europe wasn’t going well.” Among those taking part in these discussions were his sales

colleagues, along with members of SolarEdge’s upper management in North America (including




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Cohen and Matthews). CW2 also saw SolarEdge inventories begin to rise starting in 2022 and into

2023, which he claims “struck me as ominous.” According to CW2, the growing inventories were

spun as a “good thing” because it meant that the Company was “not constrained.” However, CW2

felt that the rise in inventories was “indicative” of the Company “sandbagging,” or forcing

Distributors to take product early so that SolarEdge could “make numbers,” and that “some

numbers in quarterly reports were the result of them pulling revenue in rather than organic growth.”

CW2 also felt that the reported decreased demand in 2023 was a result of the “sandbagging” that

was finally backfiring on the Company because Distributors were unable to take any additional

product.

       109.    CW2 also mentioned how, on multiple occasions, he witnessed SolarEdge “force[]

Distributors to take delivery on product early, and that saddled Distributors with large inventories.”

One method that CW2 described as to how SolarEdge forced product on Distributors was that

there were “times when orders for delivery would literally go out prematurely before they were

scheduled to go out.” Upon a Distributor calling to tell SolarEdge of the receipt of the early

shipment, CW2 claimed that the response was “[o]h, we accidentally shipped this. But hey, we’ll

extend your terms.” According to CW2, this happened frequently to Distributor Greentech. And,

because the Company recognized orders for products as revenue when equipment was “shipped

under terms to a direct customer or distributor,” the shipments would be recorded within the quarter

that they were shipped, even if the money itself is not received until much later. Per CW2, these

early shipments “only went one way,” and always “happened near the end of the quarter.”

       110.    CW4 was also witness to SolarEdge forcing its product on Distributors. CW4

described how the Company “did not like to cancel orders” and held a policy that “did not allow

Distributors to cancel orders.” Among other companies in the solar industry, CW4 said SolarEdge




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is “definitely on the more aggressive side and was not very customer-centric and certainly not

distribution-friendly.” Per things he heard in meetings, CW4 described Distributors wanting to

cancel and push out orders in the residential market, and how “it would turn into a battle” between

the Company and Distributors. Echoing CW2, CW4 stated that, as a policy, Solar Edge recognized

revenue “when an order was placed” and “when it came to the end of the quarter. If we had the

product built, it got out the door.”

        111.    CW4 also identified another method SolarEdge would use to encourage

Distributors to take unneeded product. According to CW4, at the end of a financial quarter he

would get “hounded” by his supervisors to get Distributors to agree to “free carrier shipping terms,

allowing SolarEdge to transfer the ownership of the orders (and therefore recognize the orders as

revenue) at a “point of origin,” or the manufacturing location, even if the items had not even been

received by Distributors. Backing up this claim, CW5 recalled that in the first and second quarters

of the 2023 Fiscal Year, he noticed that SolarEdge had started to request Distributors change orders

to “FOB origin,” meaning that upon SolarEdge shipping the product, the Distributors owned it.

Under this method of forcing product on Distributors, CW4 claimed that the Company was

recognizing revenue before the orders had even shipped, and these requests came towards the end

of the financial quarter to recognize revenue and meet targets.

        112.    In explaining how the policy was discussed among higher level employees at the

Company, CW7 mentioned “directors’ meetings” that he personally attended. These meetings

were typically held weekly from 11 a.m. to 12:30 p.m. in Milpitas and would be attended by Cohen,

Alex, Matthews, and five other directors. CW7 believed that what was discussed in the meetings

were eventually communicated to Defendant Lando, who (according to CW7) knew of the practice

of forcing equipment upon Distributors. CW8 also recalled similar discussions he had had with




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Matthews, Kringel, Cohen, Alex, and Vice President of Customer Success Martin Roger. As to

where the orders originated, CW8 felt he was “sure it was coming from Lando or the top of the

Company,” referencing Defendant Lando’s history as the Vice President of Sales prior to

becoming the CEO, and therefore being involved with the Company’s Sales Strategy.

       113.    Even more, per CW4, the Company was “very aggressive” in its financial

predictions and goals for sales through to end customers (as opposed to sales simply to

Distributors). CW4 would create predictions on his own based on “market reports,” from analysts

such as IHS Markit, Wood Mackenzie and an “up-and-coming” firm called Ohm Analytics, in

addition to the Company’s historical data. However, SolarEdge leaders, including Matthews,

Cohen, Ohana, and Huber, would inform CW4 that his “numbers are too low,” even when CW4

stated he was “not going any higher.” Despite CW4’s insistence, Matthews, Cohen, Ohana, and

Huber would adopt forecasts that were too high.

       114.    CW5 began to see Distributors attempting to cancel orders as early in the Relevant

Period as February 2023 because their inventories were becoming oversaturated. The attempts to

cancel orders continued until at least CW5 left SolarEdge in October 2023. CW5 recalled how

“[p]eople were wanting to cancel stuff, and we were telling people per the contract, it was too late

to cancel . . . we were moving numerous orders to different quarters because we wouldn’t let them

cancel.” It was getting to a point with Distributors that CW7 remembers a time when an employee

of Greentech started screaming at him because “SolarEdge was shoving product down his throat.”

       115.    Describing what it was like from the Distributor side, CW9 recalled SolarEdge

regularly asking Greentech to take product towards the end of quarters. The amount of product he

would be asked to take would vary based on the quarter, but Greentech almost always ended up




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taking SolarEdge products. Even when he would tell SolarEdge he didn’t need the products yet,

the reply would be something along the lines of, “well, it would really help us out.”

       116.    Eventually, this policy caught up to SolarEdge. When analyzing the declines in the

third quarter of the 2023 Fiscal Year, CW6 felt that forcing Distributors to take product was the

direct cause. CW6 stated it simply, as “[w]hen you treat people poorly and it comes time when

they can help you or hurt you, what happens?”

       The Individual Defendants Knew, or Should Have Known, About How Forcing
       Distributors to Take Product Impacted Inventory Levels and Distributor Demand

       117.    The Individual Defendants knew, or at the very least should have known, that the

Unneeded Product Misconduct would ultimately have an adverse impact on the Company’s

financial results. Both CW1 and CW2 discussed how Defendant Lando was “intimately involved”

in the Company’s business operations. CW2 claimed that Defendant Lando’s attention to detail

was part of the reason he was selected to be the Company’s CEO, as he was “thought to be the

person that understood” the Company best.

       118.    When tracking the Company’s backlog and inventory, CW1, CW2, and CW5 all

identified that SolarEdge uses an Israeli-made resource planning software called “Priority.”

Priority was able to show vendors, points of contact, and full order details, including monetary

amounts, specific products, and couriers used to make deliveries. CW1 had even personally

accessed the system, and stated that Defendant Lando and other senior leaders of SolarEdge would

receive consistent reports from the Priority system.

       119.    In addition to the reports from the Priority system, CW2 claimed that Defendant

Lando and senior leadership of SolarEdge also received daily inventory reports, as they were

considered “one of the basic metrics” for “assessing” the Company’s business. These inventory

reports contained not just the Company’s inventory, but also the Channel Inventory, with an




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additional metric (“Days on Hand”) that showed how much time it would take a Distributor to sell

through all their inventory. In addition to these inventory reports, according to CW2 the channel

Distributors also had to provide the Company with regular reports with data on current inventory

and point of sale. The requirement for such reports was included in the master service agreements

(“MSAs”) between the Company and its Distributors. According to CW2, these reports were “one

of the primary ways of understanding” the Company’s business, and that it “would indicate

criminal negligence” if Defendant Lando and senior leadership were not receiving these reports.

CW4 claimed that he knew Defendants Lando and Faier were aware of the content of the reports

because when he would ask his supervisor for a certain product, his supervisors would reply that

Defendants Lando and Faier would question CW4’s need for the products given that certain

Distributors already had those products and he would be able to get the products from them.

       120.    To ensure that SolarEdge actually received the reports from its Distributors, CW4

claimed that the Company would “leverage” a “special pricing agreement” (“SPA”) process where

SolarEdge “gave back-end rebates to Distributors based upon agreed upon pricing with the end

customer.” Under the SPAs, the only way Distributors get these rebates is if they sent the Company

the point-of-sale reports.

       121.    Regarding the region-based business, CW8 detailed weekly meetings that

Karlstetter had with Defendants Lando and Faier. CW8 also made mention of Quarterly Business

Review (“QBRs”) Karlstetter had with Defendants Lando and Faier. According to CW8, these

meetings provided inventory and Channel Inventory updates, as well as forecasting updates. QBRs

were held with each region in the Company. According to CW3, Matthews and Cohen participated

in the North American QBRs, with Defendants Lando and Faier traveling to California for these

meetings, “along with a few other C-level people.”




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       122.    Within the QBRs, CW3 stated that Company leadership “would share all the

financial details, where [SolarEdge] is going each quarter, what are the targets, how much are they

met, what is expected, what they can provide to achieve their expectations.” PowerPoint

presentations would be used to communicate these details, highlight earnings, projections, and

volumes of product sold. CW4 claimed the QBRs would be held approximately at the same time

as the quarterly earnings calls, as Defendants Lando and Faier “would like to be in North America

to present to Wall Street.”

       123.    According to CW1, CW2, and CW3, a final report that the Company received was

inventory reports through “Qlik Sense” software, which identified inventory coming in, going out,

and current manufacturing volume.

       124.    During multiple QBRs in the first half of 2023, CW4 directly informed Defendants

Lando and Faier, as well as Matthew, Cohen, Ohana, and Huber, that demand was falling and “the

market was a lot worse than they thought.” However, CW said, “all they wanted to hear was” why

SolarEdge was “not shipping more.” Regarding the rising inventories during the first half of 2023,

Company executives began asking “how come nobody’s taking the product?” To which CW4

replied “because I told you they don’t need it.”

       False and Misleading Statements

       February 13, 2023 Earnings Call

       125.    On February 13, 2023, after the market closed, the Company hosted the FY 2022

Earnings Call. On the call, Defendant Lando touted that SolarEdge “concluded the quarter with

record revenues of $890 million and record revenues for the year 2022 of $3.1 billion.” This was

a sentiment that was repeated throughout the call, with Defendant Lando repeating at one point:

“[t]his quarter, we generated record revenues for the company, led by record revenues from our




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global solar business driven from significant quarter-over-quarter growth in the United States.”

Defendant Lando continued by stating that “[a] key highlight of 2022 was the growth of our

revenues from Europe, which grew by 89% year over year.” In explaining the surge in revenue

growth in Europe, Defendant Lando explained it as: “the increase in power prices prior to the

beginning of the Ukraine-Russia conflict and the accelerated increases ever since, as well as the

expansion of our portfolio to include inverters, EV chargers, and batteries, addressing the

specific European needs.”

       126.   In regard to the demand and inventory in Europe, Defendant Lando stated “[f]rom

a demand and inventory point of view, we continue to see very strong demand from Europe for

all products and relatively low inventory levels in the channel.” In response to a question from

an analyst regarding expectations for growth in Europe, Defendant Lando responded that “in many

cases, we see that the demand is far exceeding our ability to manufacture and deliver.” And, in

response to a separate question in regards to expecting a slowdown in demand, Defendant Lando

responded:

       [T]o a large extent, our 2023 in Europe will be similar to the condition we were
       in in 2022, which is more dependent on our ability to produce the volumes than
       the demand. I can give you an indicator which is true for the company as a whole,
       but it’s most pronounced in Europe, that our current backlog for 2023 is well above
       what we delivered in 2022 globally and in particular, in Europe. So, as far as we
       can see, the market is – the demand is good, and the market is strong, and we are
       ramping production to meet demand.”

       127.   Regarding the weaknesses among the United States residential market, Defendant

Faier informed investors that weaknesses in the United States would be more than accounted for

by “the demand that we see in Europe and the rest of the world,” and therefore, “the deviation

between the U.S. or Europe is not very much impacting our guidance at this point.”




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       128.    The statements made on the FY 2022 Earnings Call prompted optimism from

investors, with the Company’s share price rising significantly over two trading days, from a close

price of $310.71 on February 13, 2023, to a close price of $343.98 on February 15, 2023, an

increase of 10.7%.

       March 13, 2023 ROTH Conference

       129.    On March 13, 2023, Defendant Danziger participated in a talk on behalf of the

Company at the 35th Annual ROTH Conference (“ROTH Conference”). In his discussions with

analysts, Defendant Danizger, speaking on the Company’s behalf, highlighted expectations for the

Company’s performance in the 2023 Fiscal Year, stating: “it’s definitely the case that [Europe]

will probably be the fastest-growing geographies for us . . . We’re definitely looking ahead

toward a very healthy and robust year in Europe again.” This was a sentiment that Defendant

Danziger emphasized throughout the conference, later repeating that “we’re expecting extremely

healthy and robust demand in Europe.”

       130.    In explaining his position, Defendant Danziger identified that prior sales had been

negatively impacted by supply chain obstacles, and that the second half of the 2023 Fiscal Year

would therefore be stronger, stating: “we’re working very hard on solving those couple of

bottlenecks we have to solve. And then we can probably – and I would say somewhere towards

the second half of the year, we should expect some relief coming.”

       March 28, 2023 Wells Fargo Symposium

       131.    On March 28, 2023, Defendant Faier took part in an interview with an analyst while

attending the Wells Fargo Energy Symposium (the “Wells Fargo Symposium”). In response to an

analyst question regarding a backlog in Europe and where things stand in that market, Defendant

Faier responded, “the situation is that . . . the demand is – continues to be very strong. And I think




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that today, most dynamics are related to the – more to the ability to supply rather than the

demand.” Defendant Faier continued by stating the “booming” demand in Europe could be

attributed to “the combination of relatively low interest rate environment . . . plus the fact that

electricity prices hiked.”

       132.    Regarding Channel Inventory, Defendant Faier assured analysts that inventory was

low in Europe. Defendant Faier even went so far as to state that “when we are looking at the

inventory on hand, when it comes to our distributors, the channels are pretty, I would say, low

on inventory in most cases.”

       April 21, 2023 Proxy Statement

       133.    On April 21, 2023, the Company filed its annual proxy statement filed on Schedule

14A with the SEC (the “2023 Proxy Statement”). The 2023 Proxy Statement was solicited by

Defendants Lando, Zafrir, Atkins, Gani, Hoke, More, and Payne pursuant to Section 14(a) of the

Exchange Act and contained various false and misleading statements and omissions.

       134.    The 2023 Proxy Statement called for shareholders to approve, inter alia: (1) the

reelection of Defendants Gani and Payne to the Board; (2) the ratification of Ernst & Young LLP

as the Company’s independent registered public accounting firm for the 2023 Fiscal Year; (3)

executive compensation, on an advisory basis; (4) the frequency of executive compensation votes,

on an advisory basis; (5) to amend the Certificate of Incorporation to declassify the Board and

phase in annual elections; (6) to amend the Certificate of Incorporation to remove a supermajority

voting requirement for future amendments to the Certificate of Incorporation and bylaws; and (7)

to amend the Certificate of Incorporation to add a federal forum selection provision for causes of

action that arise under the Securities Act of 1933.




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       135.    Regarding the Board’s role in Risk Oversight, the 2023 Proxy Statement stated the

following, in relevant part:

       The Board of Directors oversees the Company’s risk management process both
       directly and through its committees, the Audit Committee and the Technology
       Committee. The Board oversees a Company-wide approach to risk management,
       designed to enhance stockholder value, support the achievement of strategic
       objectives and improve long-term organizational performance. The Board
       continuously reviews the Company’s progress against its annual strategic plans and
       determines the appropriate level of risk for the Company generally, assesses the
       specific risks faced by the Company and reviews the steps taken by management to
       manage those risks. The Board’s involvement in setting the Company’s business
       strategy facilitates these assessments and reviews, culminating in the development
       of a strategy that reflects both the Board’s and management’s consensus as to
       appropriate levels of risk and the appropriate measures to manage those risks.
       Pursuant to this structure, risk is assessed throughout the enterprise, focusing on
       risks arising out of various aspects of the Company’s strategy and the
       implementation of that strategy, including financial, legal/compliance,
       operational/strategic, health and safety, cyber security, ESG matters, human capital
       management and compensation risks. The Board also considers risk when
       evaluating proposed transactions and other matters presented to the Board,
       including material acquisitions and financial matters. Other risks assessed by the
       Board of Directors or one of its designated committees arise out of the audit
       performed by the Company’s internal audit team. The Company’s internal auditor
       performs a risk assessment and based on these results, established a strategy for
       audits. The results of these audits are reported to the Audit Committee and often
       times, when business risks are identified, the Board of Directors or a designated
       committee continues to receive follow up on the matters at hand.

       ESG Strategy and Oversight As part of the Board’s risk oversight, the Board
       receives quarterly reports on key ESG matters and progress of the Company’s
       attainment of its ESG goals. The Board has delegated the overall oversight for the
       Company’s sustainability performance, disclosure, strategies, goals and objectives
       as well as monitoring evolving sustainability risks and opportunities to the
       Company’s Nominating and Corporate Governance Committee. The Board has
       delegated the overall oversight for the Company’s human capital management,
       including with respect to matters such as diversity and inclusion to the
       Compensation Committee.

       In 2021, the Board formally expanded the charter of the Nominating and Corporate
       Governance Committee to reflect its responsibility over the Company’s
       sustainability matters, and the Compensation Committee’s charter was expanded to
       include its responsibility over human capital management.

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       Risk Oversight While the Board maintains the ultimate oversight responsibility for
       the risk management process, its committees oversee risk in certain specified areas.
       In particular, the Audit Committee reviews and discusses the Company’s practices
       with respect to risk assessment and risk management. The Audit Committee also
       focuses on the adequacy and effectiveness of the Company’s internal controls.
       In2019, the Company appointed a Senior Director of Risk Management and
       Internal Audit and in 2021 further expanded its internal audit team in order to
       support audit continuity by a function that is deeply acquainted with the Company.
       The Audit Committee receives regular reports from the Company’s Senior Director
       of Risk Management and Internal Audit on the Company’s internal system of audit
       and financial controls, enterprise risk information, and the periodic report of
       internal audit activities. The annual internal audit work plan is created based on a
       comprehensive risk assessment survey and is approved by the Audit Committee. In
       addition, the Audit Committee oversees the Company’s compliance program with
       respect to legal and regulatory requirements, including the Company’s codes of
       conduct and policies and procedures for monitoring compliance. The
       Compensation Committee oversees the assessment of the risks related to the
       Company’s compensation policies and programs applicable to its officers and other
       employees. Management regularly reports on applicable risks to the relevant
       committee or the Board, as appropriate, including reports on significant Company
       projects, with additional review or reporting on risks being conducted as needed or
       as requested by the Board and its committees.

(Emphasis in original).

       136.    With respect to the Codes of Conduct, the 2023 Proxy Statement stated the

following:

       We have adopted a code of business conduct and ethics that applies to all of our
       officers and employees, including our Chief Executive Officer and Chief Financial
       Officer and those officers and employees responsible for financial reporting. We
       have also adopted a code of business conduct and ethics that applies to our directors.
       Our codes of business conduct and ethics are posted on the investor relations section
       of our website.

       Recent additions to the codes of business conduct and ethics include expanded
       details on whistleblower mechanisms; a commitment on human rights protection;
       and further guidance on political involvement (see details below).

       In addition, we have published in 2021 a complimentary anti-corruption approach
       document, which provides expanded details on relayed issues. These include the
       definition of reasonable and unreasonable gift exchange; avoidance of conflicts
       regarding financial interests; guidelines for participation in external events; and
       additional instructions and guidelines related to anti-corruption.




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       The Company has also recently revised its insider trading policy, among other
       things to prohibit all employees and non-employee directors from engaging in any
       speculative transactions, hedging and pledging transactions and trading on margin.

       We intend to disclose future amendments to our codes of business conduct and
       ethics, and any waivers of their provisions that we grant to our executive officers
       and directors, on our website within four business days following the date of the
       amendment or waiver that require disclosure under the applicable rules.

       137.    The 2023 Proxy Statement was materially false and misleading because, despite

assertions to the contrary, the Company’s Codes of Conduct were not followed, as evidenced by

the Individual Defendants: (1) participating in and/or facilitating the Company’s participation in

the Unneeded Product Misconduct; (2) making and/or causing the Company to make the numerous

false and misleading statements alleged herein; and (3) failing to report violations of the Codes of

Conduct. Further, the 2023 Proxy Statement was materially false and misleading because, despite

assertions to the contrary, the Board was not adequately performing its risk oversight functions.

       138.    The 2023 Proxy Statement was also false and misleading because it failed to

disclose that: (1) the reason the Company was not only hitting “record” revenues, but simply just

reaching financial goals, was because the Company was forcing unneeded products on Distributors

at the end of the fiscal quarters; (2) demand in Europe, the Company’s most valuable region, was

severely declining (3) by forcing unneeded products on Distributors who had a declining demand,

the Finished Goods Inventory and Channel Inventories were ballooning to unsustainable levels;

(4) SolarEdge’s sell-through projections (i.e., sales from the Company’s Distributors to installers

and other end users) were artificially inflated as they were not based on either market reports nor

the Company’s internal data; (5) as a result of the foregoing, the Individual Defendants were aware

of, or should have been aware of, the risk of Channel Inventories rising to a level such that

Distributors would need to cancel and/or push out their current orders; (6) as a result Company

revenues would plummet; and (7) the Company failed to maintain internal controls.




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       139.    As a result of Defendants Lando, Zafrir, Atkins, Gani, Hoke, More, and Payne

causing the 2023 Proxy Statement to be false and misleading, shareholders voted to reelect

Defendants Gani and Payne to the Board, thereby allowing them to continue breaching their

fiduciary duties to the Company; to appoint Ernst and Young as the Company’s independent

registered public accounting firm for the 2023 Fiscal Year; to approve executive compensation, on

an advisory basis; to vote on executive compensation annually, on an advisory basis; to amend the

Certificate of Incorporation to declassify the Board and hold annual elections; to amend the

Certificate of Incorporation to remove the supermajority voting requirement for future

amendments to the Certificate of Incorporation and Company bylaws; and to amend the Certificate

of Incorporate to add a federal forum selection provision for causes of action that arise under the

Securities Act of 1933.

       May 3, 2023 Earnings Call

       140.    On May 3, 2023, after the market closed, the Company hosted its investor earnings

call for the first quarter of the 2023 Fiscal Year (the “1Q 2023 Earnings Call”). The 1Q 2023

Earnings call revealed more supposedly good news for investors, as Defendant Lando reported on

“[r]evenues from our solar business were at a record $909 million . . . Mostly driven by record

revenues in Europe and Rest of World.” Defendant Lando went on to tout that “[t]he European

residential markets continues to be very strong for us in this quarter as we ramp shipments of

three-phase residential inverters, in particular, our new backup inverter as well as the three

phase residential battery.”

       141.    As for future projections in the European market, Defendant Lando stated that

“[w]e expect this momentum to continue in the coming quarters,” attributing it to “strong demand

for this product.” And, in response to a question regarding inventory levels, Defendant Lando




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stated that “in Europe, we actually see low [channel] inventory days on hand,” and “not only . . .

[do] we see that the level of [channel] inventory is relatively not high, but it’s actually that we see

record sellout of products coming from the distribution channels.” The 1Q 2023 Earnings Call

also revealed guidance for second quarter earnings of between $930 million and $980 million in

revenue, and gross margins of between 34% and 37% for the solar business.

           142.   On the 1Q 2023 call, Defendant Faier echoed a number of Defendant Lando’s

statements earlier in the call, as well as statements he had made at the Wells Fargo Symposium.

Specifically, Defendant Faier lauded that the “vast majority” of SolarEdge’s batteries “continue to

be shifted to Europe, driven by the strong adoption and demand for our three-phase solution.”

           143.   Defendant Faier explained the increase in the Company’s inventory, which had

grown from $729 million to $874 million over the quarter, an increase of 20%, with the Finished

Goods Inventory increasing even more drastically, from $202 million to $303 million (a 64.4%

increase). Defendant Faier attributed this growth as a “result of streamlined manufacturing,”

stating:

           As of March 31, our inventory level net of reserve was at a level of $874.2 million
           compared to $729.2 million in the prior quarter. It's important to note that our
           inventory levels this quarter include higher levels of finished goods products as
           a result of streamlined manufacturing. This finished goods inventory in the
           various regions will allow us to further improve our customer delivery time and
           reduce shipping and logistic expenses.

           144.    Defendant Faier further reassured investors that the high level of Finished Goods

Inventory was not unusual, stating:

           Over the last 2 years, we have dealt with challenges around components
           availability, supply chain issues and logistic constraints. The general improvement
           in the market combined with the actions that we have taken have allowed us to
           return to a more normal mode of operation. In most product areas, we are at a
           point where our manufacturing capacity is able to meet demand and we can use
           normal shipping routes, build inventory, and reduce lead times.




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       145.    In response to a Goldman Sachs analyst’s question regarding rumors of a potential

slowdown in Europe, Defendant Lando publicly represented to investors and analysts that there

was no decrease in demand, stating, “we don’t see right now a change in the pattern of demand in

the market in Europe . . . [a]nd we don’t see, at least until now any change in the dynamic and

the market continues to be strong.”

       146.    In response to a later question from a Deutsche Bank analyst pertaining to expected

growth in the upcoming second and third quarters compared to the first quarter, Defendant Lando

replied that the European markets were “three-phased based,” meaning that “growth is less

dependent on demand. It’s more dependent on our ramp of manufacturing, which I mentioned,

will take us another couple of quarters until we’re at a full scale of matching the supply to

demand.” And, responding to a follow-up question regarding the United States, Defendant Lando

reiterated, “[i]n Europe, the situation is more dependent on our supply and our intent to continue

and increase the capacity of three-phase residential inverters. So the outlook is for likely

growth.”

       147.    As a result of these statements, the next day, on May 4, 2023, Deutsche Bank

released an analyst report which upgraded the Company’s stock from a “Hold” rating to a “Buy”

rating, citing its business in Europe as the driving factor. The report identified that Deutsche Bank

“[has been positive on [SolarEdge]’s business mix, with a diversified mix of residential vs

commercial use, but also US exposure (>30%), Europe (~55%) and other international markets

where we have been observing strong demand (double digits in the 40-60% range for European

residential demand in our opinion).” The report further went on to identify SolarEdge’s European

business as a reason that it was “well-positioned in the coming quarters.”




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       148.    The statements made on the 1Q 2023 Earnings Call prompted optimism from

investors, with the Company’s share price rising significantly over two trading days, from a close

price of $263.82 on May 3, 2023, to a close price of $293.39 on May 5, 2023, an increase of 11.4%.

       June 21, 2023 J.P. Morgan Conference

       149.    On June 21, 2023, Defendant Danziger participated in a talk on behalf of the

Company at the J.P. Morgan Energy, Power, and Renewables Conference (the “JPM Conference”).

While speaking at the JPM Conference, a J.P. Morgan analyst asked Defendant Danziger about

what the Company was seeing in Europe, “in light of some of the kind of – some of the third-party

forecasts that have come out for some flattening in the market?” Defendant Danziger responded

by rejecting the existence of any changes in demand in Europe, stating that:

       [W]hat we’re still seeing and observing in Europe is not so much different than
       what we mentioned after our last earnings . . . we’re still looking at very healthy
       demand across the board in the markets and in the segments . . . But overall, and
       including both residential and commercial, we’re still looking at a very healthy
       demand in Europe. And this would probably still be the fastest-growing
       geographies for us in 2023.

       150.    In a follow-up question, the analyst then asked if the demand was a result of the

market still growing, or more a result of additional gains in market share, new customers, or new

geographies. In response, Danziger stated:

       I think it’s a combination of all . . . it’s still a very attractive economic investment
       to do to install a solar system in Europe and we’re still seeing driving very strong
       demand on the residential front. On the C&I side, there’s this layer of ESG-
       driven demand that we’re seeing more and more corporations are starting to take
       their net zero emissions journey. And usually, to start with the solar system is a
       fairly good step to start with.

       151.    Danziger’s statements at the JPM Conference prompted J.P. Morgan to release a

report based upon their observations. The report reassured investors that “[SolarEdge] noted very

healthy demand in Europe, which we believe is a positive given investor concerns over recent

third-party market forecasts.” Therefore, Danziger’s statements clearly had the necessary illusory



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effects needed to fool investors and analysts into believing that there was nothing to be concerned

about regarding SolarEdge’s business.

       152.    The statements in ¶¶ 125-132 and 140-151 above were materially false and

misleading and failed to disclose the facts necessary to make the statements made not materially

false and misleading. Specifically, they failed to disclose that: (1) the reason the Company was not

only hitting “record” revenues, but simply just reaching financial goals, was because the Company

was forcing unneeded products on Distributors at the end of the fiscal quarters; (2) demand in

Europe, the Company’s most valuable region, was severely declining (3) by forcing unneeded

products on Distributors who had a declining demand, the Finished Goods Inventory and Channel

Inventories were ballooning to unsustainable levels; (4) SolarEdge’s sell-through projections (i.e.,

sales from the Company’s Distributors to installers and other end users) were artificially inflated

as they were not based on either market reports nor the Company’s internal data; (5) as a result of

the foregoing, the Individual Defendants were aware of, or should have been aware of, the risk of

Channel Inventories rising to a level such that Distributors would need to cancel and/or push out

their current orders; (6) as a result Company revenues would plummet; and (7) the Company failed

to maintain internal controls. As a result of the foregoing, the Company’s public statements were

materially false and misleading at all relevant times.

         The Truth Begins to Emerge as False and Misleading Statements Continue

       August 1, 2023 Earnings Call

       153.    The truth began to emerge on August 1, 2023, after the market closed, when the

Company hosted the 2Q 2023 Earnings Call. On the 2Q 2023 Earnings Call, with Defendant Lando

finally admitting that “[t]he solar market is going through a transition, emerging from the recent

period of component shortages, high energy prices, and rapid growth to one now impacted by




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higher interest rates and excess inventory,” with inventory numbers being reported to have

increased from $729 million in the first quarter to $984 million, a 12.6% increase, with the Finished

Goods Inventory ballooning from $303 million to $487 million, a staggering growth rate of 46.4%.

Defendant Lando explained these high inventories as a result of “growth in demand has tapered

off, distributors are taking a more cautious approach in order to better manage their cash flow.”

Defendant Faier, when discussing the Company’s internal increases in Finished Goods Inventory

to, inter alia, “slower growth rates in Europe.”

        154.       Regarding the projections for the upcoming third quarter, Defendant Faier revealed

that there was going to be an estimated decline in the Company’s financial outlook. Defendant

Faier revealed that solar revenues would likely be between $850 million and $890 million in the

third quarter, despite being at $947.4 million in the second quarter. Defendant Faier also revealed

a gross margin estimation of between 30% and 33%, down from 34.7% in the second quarter.

        155.       In trying to lessen the impact these negative disclosures had, Defendant Lando

reiterated that:

        In Europe, installation rates continue to be high in both residential and commercial.
        However, the strength in the market is somewhat more moderate than what was
        anticipated heading into 2023, largely due to a milder winter, reduced concerns over
        energy resilience, and lower electricity prices. With that in mind, our growth in
        Europe in the second quarter was very strong. Overall, our megawatt shipments to
        Europe grew by 52% quarter over quarter, including 57% in residential and 50%
        quarter-over-quarter growth in commercial.

        156.       Further, in regards to the impact increase in inventories had on demand, Defendant

Lando made it a point to emphasize that the high levels of inventory did not reflect declining

demand, and that Distributors were simply overreacting by:

        [G]oing to a – on the overall offering to low levels of inventory that are maybe
        lower than those that they would normally carry in this type of a period, especially
        because the overall demand is still high . . . the market is very active. Installations
        are up and demand for equipment is strong.




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       157.    Despite the negative news, the 2Q 2023 Earnings Call was also littered with

supposedly positive statements about the Company in order to throw analysts and investors off the

scent. For one thing, Defendant Lando opened the 2Q 2023 Earnings Call by announcing that

SolarEdge’s “[r]evenues from [the] solar business were at a record $947 million,” an increase of

38% more than the second quarter from the 2022 Fiscal Year. Defendant Lando claimed this

growth was “mostly driven by record revenues in Europe,” insisting that “consider[ing] the very

high sales through and installation rates, it’s not a major bubble, if you will.” In short, Defendant

Lando was spinning the elevated inventory rates and slowing growth into mere irregularities.

Defendant Lando neglected to mention to investors however, that the Company’s “record

revenues” were the result of the Unneeded Product Misconduct.

       158.    For his part, Defendant Faier explained the high inventory levels “[a]s a result of

the slowdown in the shipments to the United States, slower growth rates in Europe, and more

streamlined manufacturing, [the] finished goods inventory increased substantially this quarter.”

While “there is a built inventory within the channels [in Europe] that needs to be cleared in order

to continue and grow,” Defendant Faier assured analysts that “this will be cleared mostly through

the adoption or getting more inverters from us during the third and fourth quarter.” However,

Defendant Faier also made it a point downplay these increased inventories as a good thing,

reassuring analysts on the 2Q 2023 Earnings Call that the high inventory levels were “a healthy

way to reduce shipment costs, in the various regions,” reiterating that while the Channel

Inventories were high, “when you look at the days outstanding, which is a result of the sell-

through from the channel, they are not high at all. They’re actually at normal level.”

       159.    Regarding demand numbers, Defendant Faier told investors that “[s]o the

underlying demand is very strong, although not as strong as everyone thought.” However, in an




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attempt to spin his statement, Defendant Faier went on to say that “when we are looking at the

point-of-sale data of how much is being sold from the channels, we see record levels over the last

two quarters that, to our understanding, are continuing, which means that in that case, the demand

is there.” Defendant Faier also stated, in response to an analyst question about rebalancing in the

third or fourth quarter, that “yes, the correction within the distributors should be relatively quick,

given the fact that the inventories levels that Zvi mentioned before are not so high when it

reflects inventory days while we still see very high – record-high point-of-sale data.”

       160.    In response to a question from an analyst, Defendant Faier stated that:

       We’ve been and we’ve seen through various stages of the solar market. We do not
       see this stage, as was the case in Germany, let’s say, or Europe in 2013 when the
       market disappeared. Again, we see it more of a correction rather than a crisis that’s
       going around overall.

Defendant Faier later reiterated that “Europe is growing, and the commercial side is also growing

. . . If you combine those two, yes, the expectation should be that, in 2024, where we believe that,

first of all Europe will come back to course – course much quicker than the United States.”

Defendant Faier also neglected to mention to investors the Unneeded Product Misconduct

attributing to the “record revenues.”

       161.    The positive spin of the state of the Company done on the 2Q 2023 Earnings Call

appeared to be enough to convince some analysts to remain positive on SolarEdge’s future. On

August 2, 2023, Oppenheimer & Co. released an analyst report stating that “Management sees

European inventory reduction as mainly a 3Q event, with three-phase inverter supply gating sell-

through of battery inventory,” while Guggenheim released an analyst report stating that “In

Europe, problems are more transitory in SEDG’s view and ours, although we note that competitive

pressure from Chinese vendors is clearly increasing.” Lastly, Barclays issued an analyst report

that, while optimistic, rated SolarEdge as “Overweight.” This rating meant that the analysts felt




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that SolarEdge’s stock is likely to perform better in the future, attributing it to the Company

“hold[ing] a strong position in both residential and commercial solar markets, both domestically

and abroad, and presents significant upside growth within its European exposure and storage

product.”

        162.    However, this positivity was not enough to protect the Company’s stock. On the

news of the high inventory levels in Europe, the Company’s share price dropped $43.96 per share,

from a closing price of $239.47 per share on August 1, 2023 to close at a price of $195.51 per

share on August 2, 2023, a fall of 18.3%.

        August 8, 2023 Oppenheimer Conference

        163.    On August 8, 2023, Defendant Faier spoke with analysts at the Oppenheimer & Co.

26th Annual Technology, Internet & Communications Conference (“Oppenheimer Conference”).

In his discussion with attendees, Faier reassured analysts that they could rely on the Company’s

allegedly strong demand for SolarEdge products in Europe. Defendant Faier explained to analysts

that:

        Europe is growing only 30% to 40% year-over-year. It depends on the country, of
        course. Europe is made out of many countries. And therefore, we still see very
        strong underlying demand for -- last quarter, for example, we get from our channels
        and distributors what we call point-of-sale data, is showing how much we’re selling
        out of the channels. We’re talking about record high numbers that we haven’t seen
        before. That in some cases, even for our products are close to 100% just compared
        to about a quarter ago. So the underlying demand is very strong, although not as
        strong as everyone thought.

        164.    Regarding the supposed surpluses, Faier explained them as simple changes in

Distributors’ inventory preferences, stating:

        The second thing distributors are doing is since they can rely better on our supply
        right now instead of holding 3 months or sometimes even 4 months of inventory .
        . . at the end of Q2, we saw in average 2 months of inventory of our product in the
        channel. And now they’re even sometimes reduced to 5 or 4 weeks. And this
        creates a situation or on one hand, you see amazing demand. But at the same




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       time, since the inventory is still being cleared from the channel going to lower
       levels, the orders to us or other companies is not happening.

       September 6, 2023 Barclays Conference

       165.    On September 6, 2023, Defendant Faier took part in a talk with analysts at the

Barclays CEO Energy-Power Conference (the “Barclays Conference”). In response to a question

from an analyst about whether Distributors have a say in how much they are able to reduce the

price of SolarEdge products to increase sales to end users, Defendant Faier alluded to how

SolarEdge recognizes revenues, responding, “[n]o. Not necessarily, because once we sold, it’s

theirs . . . it’s their decision.” However, despite SolarEdge recognizing revenue upon sale to

Distributors and not end users, Faier also made clear that the Company is aware of how much

Distributors are selling, stating “[w]e are seeing every quarter the sell-through data coming from

our distributors.”

       166.    In discussing the demand for SolarEdge products, Defendant Faier seemed to be

less forthcoming with analysts than he had in the past, acknowledging to attendees that

Distributors’ attempts to push out orders. Defendant Faier stated, inter alia, “[w]e do see that in

some cases, [Distributors] ask to delay orders. Sometimes even delay orders that they know that

they will need in Q4, they will ask to delay right now, because they do not want to take any cash

flow obligations that they will not be able to meet.” However, instead of acknowledging that

European Distributors were actively doing this, as well as attempting to cancel or refuse to take

additional products because of declining demand, Defendant Faier told attendees about how, in

2022, SolarEdge, “directed a lot of our shipments to Europe, which by the way turned to be a

relatively good move given the fact that we see Europe growing relatively quickly right now.”




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       167.    Defendant Faier was then asked, moments later, if he was able to provide an update

regarding inventory in Europe now that the Company was a couple of months removed from the

2Q 2023 Earnings Call. In response, Defendant Faier stated:

       I’ll start by saying that nothing changed from our call with only colors being a
       little bit more vivid in where do we see things happening. So starting from the
       underlying demand, the underlying demand in Europe continues to be strong and
       continues to be very great . . . I can tell you that in both cases, we see a very nice
       uplift in all of Europe . . . we see it almost everywhere. It’s a very good underlying
       demand, not as good as we thought.

       168.    In discussing the surplus Channel Inventories, Defendant Faier explained to

investors that they were due to the “past 2 years’ experience of not being able to get all of the

products that they wanted.” In short, Distributors had, according to Defendant Faier,

       [S]imply overstocked, not just compared to the amount of revenues, but also
       because they thought that maybe they will not be able to get more products. This
       resulted in a situation where although we see record high sell-through every
       month, we see that the channels are relatively packed.

Defendant Faier took this as an opportunity to reestablish that "the underlying market in Europe is

growing and growing very nicely."

       September 21, 2023 KeyBanc Symposium

       169.    On September 21, 2023, Defendant Lowe, speaking on behalf of the Company, took

part in a question-and-answer session with analysts at the KeyBanc Capital Markets Inc.’s Energy

Transition Symposium (the “KeyBanc Symposium”). During the KeyBanc Symposium,

Defendant Lowe responded that nothing had changed when asked for comment on the current

inventory cycle, responding that “[t]he situation that European distributors have in terms of having

too much inventory . . . especially on solar panels, which is the largest cost component of the solar

system . . . [i]s a real problem for them,” as solar panel prices have fallen. However, Defendant

Lowe also made it a point to state that “underlying demand for solar is very, very strong,” and




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“the data we see from our distributors is continuing to show significant growth in terms of sell-

through into Europe.” Defendant Lowe also reaffirmed to attendees not to be concerned, because

“at the end of the day, 1Q is going into the spring installation season and sell-through being as

strong as it is, distributor inventories are going to be depleted fairly quickly.”

       170.    The statements in ¶¶ 155-169 above were materially false and misleading and failed

to disclose the facts necessary to make the statements made not materially false and misleading.

Specifically, they failed to disclose that: (1) the reason the Company was not only hitting “record”

revenues, but simply just reaching financial goals, was because the Company was forcing

unneeded products on Distributors at the end of the fiscal quarters; (2) demand in Europe, the

Company’s most valuable region, was severely declining (3) by forcing unneeded products on

Distributors who had a declining demand, the Finished Goods Inventory and Channel Inventories

were ballooning to unsustainable levels; (4) SolarEdge’s sell-through projections (i.e., sales from

the Company’s Distributors to installers and other end users) were artificially inflated as they were

not based on either market reports nor the Company’s internal data; (5) as a result of the foregoing,

the Individual Defendants were aware of, or should have been aware of, the risk of Channel

Inventories rising to a level such that Distributors would need to cancel and/or push out their

current orders; (6) as a result Company revenues would plummet; and (7) the Company failed to

maintain internal controls. As a result of the foregoing, the Company’s public statements were

materially false and misleading at all relevant times.

                                    The Truth Fully Emerges

       171.    The truth fully emerged less than a month after the KeyBanc Symposium, as the

Unneeded Product Misconduct finally caught up with SolarEdge. On October 19, 2023, after the

market closed, SolarEdge issued the 3Q 2023 Press Release.




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       172.       The 3Q 2023 Press Release revealed a slew of disappointing results and guidance,

revealing that:

       “During the second part of the third quarter of 2023, we experienced substantial
       unexpected cancellations and pushouts of existing backlog from our European
       distributors,” said Zvi Lando, Chief Executive Officer of SolarEdge. “We attribute
       these cancellations and pushouts to higher than expected inventory in the
       channels and slower than expected installation rates. In particular, installation rates
       for the third quarter were much slower at the end of the summer and in September
       where traditionally there is a rise in installation rates.”

       173.       The effect of these revelations was felt by the Company immediately, with the 3Q

2023 Press Release further revealing:

       As a result, third quarter revenue, gross margin and operating income will be below
       the low end of the prior guidance range. Additionally, the Company anticipates
       significantly lower revenues in the fourth quarter of 2023 as the inventory
       destocking process continues.

                                             ***
       Third quarter revenue is now expected to be in the range of $720 million to $730
       million, compared to the previous expectation of $880 million to $920 million.

       174.       The sudden heel turn by SolarEdge shocked analysts and investors alike.

Oppenheimer & Co. issued an analyst report that practically alleged the Individual Defendants as

having misinforming the investing public, stating that “[w]ith Thursday’s pre-announcement,

[SolarEdge] signaled much deeper challenges than previously suggested by management

commentary.” Several analysts subsequently downgraded the Company in their reports.

       175.       On this news, the Company’s share price dropped $31.08 per share, or 27.2%, from

a closing price of $113.98 per share on October 19, 2023 to close at a price of $82.90 per share on

October 20, 2022.

                                SUBSEQUENT DEVELOPMENTS

       November 1, 2023 Earnings Call




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       176.    On November 1, 2023, after the market closed, the Company hosted its investor

earnings call for the third quarter of the 2023 Fiscal Year (the “3Q 2023 Earnings Call”). On the

3Q 2023 Earnings Call, the preliminary financials from the 3Q 2023 Press Release were given

more light, as it was revealed that the Company’s revenue in the third quarter from the solar

business fell from $947.4 million in the second quarter to $725.3 million in the third quarter, a

23.4% drop between quarters and between 14.7% to 18.5% lower than the estimated $850 million

to $890 million estimated on the 2Q 2023 Earnings Call.

       177.    With their tails between their legs, Defendants Lando and Faier both acknowledged

the decline in demand in Europe during their scripted remarks. Defendant Lando admitted that

demand in Europe “began to slow in the third quarter,” revealing that “[a]lthough the dynamics

are consistent with what we cautioned during our second quarter earnings call, the magnitude grew

much greater than we anticipated.” In explaining the shortfall in missed guidance and revenue,

Defendant Lando made it clear that it was due to Europe, stating that “in Europe, our sell-through

was . . . down 22% quarter over quarter,” whereas “the U.S. [w]e have not seen a significant

change in the market dynamics since” the 2Q 2023 Earnings Call. Defendant Lando further made

clear that this was no longer a short-term issue, as based on the “inventory data that we received

from our distributors, we estimate the correction could take two to three quarters of gradual

improvement quarter over quarter.” Thus, in order “[t]o align with reduced demand, [SolarEdge

has] discontinued manufacturing of our products in Mexico and reduced capacity in China.”

       178.    As for Defendant Faier’s scripted remarks, he confirmed that:

       A significant portion of our revenues decline in Europe are attributed to lower sales
       of batteries or a combination of inventories in the beginning of the quarter and
       lower demand than anticipated by our customers led to an accumulation of large
       quantities of channels.




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        179.    In the question-and-answer portion of the 3Q 2023 Earnings Call, analysts tried to

determine when Defendants became aware of the slowdowns, especially given the public remarks

being made in the months leading up to the 3Q 2023 Press Release (i.e. at the Oppenheimer

Conference, Barclays Conference, and KeyBanc Symposium). In response to a statement from a

J.P. Morgan analyst who intuited that the slowdowns accelerated in the back half of the third

quarter, Defendant Lando admitted that “the shift in pattern was round the summer and the picture

got clearer, as mentioned during the -- to our distributors, and then to us in the second half of the

quarter. And that is where the installation rate decline took place.”

        180.    At a later portion of the question-and-answer session, in response to another request

for clarity into how the financial results got to where they were at the call, Defendant Faier clarified

Defendant Lando’s statement, explaining that the difficulty for the Company to recognize a decline

in demand was because the Company was receiving sell-through reports late in each month, with

a sell-through report being for the prior month (i.e. the sell-through report for January would come

in late-February). Because of this, the demand declines that were seen in July and August were

mistaken for typical seasonal declines, and the Distributor cancellations did not begin to come in

until the last two weeks of the quarter. However, this apparent justification needed to be taken with

a grain of salt, as based on his comments, Defendant Faier was implying that SolarEdge lost $125

million to $250 million in revenue over just two weeks.

        181.    Additionally, on the 3Q 2023 Earnings Call, Defendant Lando seemed to imply

some of the allegations made regarding the Unneeded Product Misconduct, namely CW4’s claim

of the Company’s refusal to permit Distributors to cancel orders. Defendant Lando stated on the

call that European Distributors had made a “large amount of requests to cancel or push out orders”




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and that “while these orders are technically binding on our distributors, the nature of our

relationship with these customers is such that we accommodated most of these requests.”

       February 20, 2024 Earnings Call

       182.    On February 20, 2024, months after the end of the Relevant Period, the Company

hosted its investor earnings call for the fourth quarter and full year of the 2023 Fiscal Year (the

“FY 2023 Earnings Call”). On the FY 2023 Earnings Call, Defendant Faier announced that:

       Throughout this [fourth] quarter, we did a lot of work going deeper in to our
       channels to understand what’s happening there, looking at installation rates,
       dissecting almost every country by various trends that we see there, and talking, by
       the way, to a lot of the installers to actually understand exactly what they see as
       well, which was one of the things that we did a little bit less prior to this period.

In essence, Defendant Faier revealed to investors that the constant insistence that demand in

Europe was strong throughout the Relevant Period was done without actually speaking to those

who were contracted to install the Company’s products.

                                DAMAGES TO SOLAREDGE

       183.    As a direct and proximate result of the Individual Defendants’ conduct, SolarEdge

will lose and expend many millions of dollars.

       184.    Such expenditures include, but are not limited to, legal fees, costs, and any

payments for resolution of or to satisfy a judgment associated with the Securities Class Action,

and amounts paid to outside lawyers, accountants, and investigators in connection thereto.

       185.    Such expenditures also include, but are not limited to, the cost of implementing

measures to remediate the Unneeded Product Misconduct.

       186.    Such expenditures also include, but are not limited to, fees, costs, and any

payments for resolution of or to satisfy judgments associated with any other lawsuits filed against

the Company or the Individual Defendants based on the Unneeded Product Misconduct and any




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other misconduct alleged herein, and amounts paid to outside lawyers, accountants, and

investigators in connection thereto.

       187.    Such expenditures also include, but are not limited to, amounts paid to outside

lawyers, accountants, and investigators in connection thereto, and losses of revenues caused by

customers’ loss of trust in the Company’s business and products.

       188.    Such expenditures will also include costs incurred in any internal investigations

pertaining to violations of law, costs incurred in defending any investigations or legal actions

taken against the Company due to its violations of law, and payments of any fines or settlement

amounts associated with the Company’s violations.

       189.    As a direct and proximate result of the Individual Defendants’ conduct, SolarEdge

has also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s

discount” that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations.

                                DERIVATIVE ALLEGATIONS

       190.    Plaintiff brings this action derivatively and for the benefit of SolarEdge to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and/or officers of SolarEdge, unjust enrichment, gross

mismanagement, and violations of Section 14(a) of the Exchange Act, as well as the aiding and

abetting thereof, and for contribution under Sections 10(b) and 21D of the Exchange Act.

       191.    SolarEdge is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

       192.    Plaintiff is, and has been at all relevant times, a shareholder of SolarEdge. Plaintiff

will adequately and fairly represent the interests of SolarEdge in enforcing and prosecuting its




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rights, and, to that end, has retained competent counsel, experienced in derivative litigation, to

enforce and prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        193.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        194.    A pre-suit demand on the Board of SolarEdge is futile and, therefore, excused. At

the time of filing of this action, the Board consists of the following eight individuals: Defendants

Lando, Atkins, Gani, Gross, Hoke, More, Payne, and Zafrir (the “Director Defendants”). Plaintiff

needs only to allege demand futility as to four of the eight Directors who are on the Board at the

time this action is commenced.

        195.    Demand is excused as to all of the Director-Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the schemes

they engaged in knowingly or recklessly to cause the Company to engage in the Unneeded Product

Misconduct and to make and/or cause the Company to make false and misleading statements and

omissions of material fact, all of which renders the Director-Defendants unable to impartially

investigate the charges and decide whether to pursue action against themselves and the other

perpetrators of the schemes.

        196.    In complete abdication of their fiduciary duties, the Director-Defendants either

knowingly or recklessly caused or permitted SolarEdge to engage in the Unneeded Product

Misconduct and in making and/or causing the Company to make materially false and misleading

statements. Specifically, the Director-Defendants caused SolarEdge to issue false and misleading

statements which were intended to make SolarEdge appear more profitable and attractive to

investors. Moreover, the Director-Defendants caused the Company to fail to maintain internal




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controls. As a result of the foregoing, the Director-Defendants breached their fiduciary duties, face

a substantial likelihood of liability, are not disinterested, and demand upon them is futile, and thus

excused.

       197.    Additional reasons that demand on Defendant Lando is futile follow. Defendant

Lando has served as the Company’s CEO and as a Company director since 2020. Previously, he

served as the Vice President of Global Sales for the Company from 2009 until being appointed as

interim CEO in 2019. As the Company’s CEO throughout the Relevant Period, Defendant Lando

is ultimately responsible for the Company’s engagement in the Unneeded Product Misconduct and

all of the false and misleading statements and omissions that were made by or on behalf of the

Company during the Relevant Period, including those which he personally made in the FY 2022

Earnings Call, the 1Q 2023 Earnings Call, and the 2Q 2023 Earnings Call. He also solicited the

2023 Proxy Statement, which contained false and misleading statements and contributed to the re-

election of Defendants Gani and Payne, which allowed them to continue making false and

misleading statements. The Company provides Defendant Lando with his principal occupation for

which he receives handsome compensation including over $7.5 million during the 2023 Fiscal

Year. Thus, as the Company admits, he is a non-independent director. As the Company’s former

highest officer, Defendant Lando conducted little, if any, oversight of the schemes to cause the

Company to engage in the Unneeded Product Misconduct and to make false and misleading

statements, consciously disregarded his duties to monitor internal controls over reporting and

engagement in the scheme, and consciously disregarded his duties to protect corporate assets.

Moreover, Defendant Lando is a defendant in the Securities Class Action. For these reasons,

Defendant Lando faces a substantial likelihood of liability, is not independent or disinterested, and

thus demand upon him is futile and, therefore, excused.




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       198.    Additional reasons that demand on Defendant Atkins is futile follow. Defendant

Atkins has served as a Company director since 2021. She also serves as the Chair of the

Nominating and Corporate Governance Committee, as a member of the Technology Committee,

and as a member of the Compensation Committee. She also solicited the 2023 Proxy Statement,

which contained false and misleading statements and contributed to the re-election of Defendants

Gani and Payne, which allowed them to continue making false and misleading statements.

Defendant Atkins has received and continues to receive compensation for her role as a director as

described above. As a trusted Company director, Defendant Atkins conducted little, if any,

oversight of the schemes to cause the Company to engage in the Unneeded Product Misconduct

and to make false and misleading statements, consciously disregarded her duties to monitor

internal controls over reporting and engagement in the schemes, and consciously disregarded her

duties to protect corporate assets. For these reasons, Defendant Atkins faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon her is futile and,

therefore, excused.

       199.    Additional reasons that demand on Defendant Gani is futile follow. Defendant Gani

has served as a Company director since 2015. He also serves as the Chair of the Audit Committee.

He also solicited the 2023 Proxy Statement, which contained false and misleading statements and

contributed to the re-election of himself and Defendant Payne, which allowed them to continue

making false and misleading statements. Defendant Gani has received and continues to receive

compensation for his role as a director as described above. As a trusted Company director,

Defendant Gani conducted little, if any, oversight of the schemes to cause the Company to engage

in the Unneeded Product Misconduct and to make false and misleading statements, consciously

disregarded his duties to monitor internal controls over reporting and engagement in the schemes,




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and consciously disregarded his duties to protect corporate assets. For these reasons, Defendant

Gani faces a substantial likelihood of liability, is not independent or disinterested, and thus demand

upon him is futile and, therefore, excused.

       200.    Additional reasons that demand on Defendant Gross is futile follow. Defendant

Gross has served as a Company director since 2023. She also serves as a member of the Audit

Committee. Defendant Gross has received and continues to receive compensation for her role as a

director as described above. As a trusted Company director, Defendant Gross conducted little, if

any, oversight of the schemes to cause the Company to engage in the Unneeded Product

Misconduct and to make false and misleading statements, consciously disregarded her duties to

monitor internal controls over reporting and engagement in the schemes, and consciously

disregarded her duties to protect corporate assets. For these reasons, Defendant Gross faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon her is

futile and, therefore, excused.

       201.    Additional reasons that demand on Defendant Hoke is futile follow. Defendant

Hoke has served as a Company director since 2022. He also serves as a member of the Nominating

and Corporate Governance Committee. He also solicited the 2023 Proxy Statement, which

contained false and misleading statements and contributed to the re-election of Defendants Gani

and Payne, which allowed them to continue making false and misleading statements. Defendant

Hoke has received and continues to receive compensation for his role as a director as described

above. As a trusted Company director, Defendant Hoke conducted little, if any, oversight of the

schemes to cause the Company to engage in the Unneeded Product Misconduct and to make false

and misleading statements, consciously disregarded his duties to monitor internal controls over

reporting and engagement in the schemes, and consciously disregarded his duties to protect




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corporate assets. For these reasons, Defendant Hoke faces a substantial likelihood of liability, is

not independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       202.    Additional reasons that demand on Defendant More is futile follow. Defendant

More has served as a Company director since 2006.           He also serves as the Chair of the

Compensation Committee and as the Chair of the Technology Committee. He also solicited the

2023 Proxy Statement, which contained false and misleading statements and contributed to the re-

election of Defendants Gani and Payne, which allowed them to continue making false and

misleading statements. Defendant More has received and continues to receive compensation for

his role as a director as described above. As a trusted Company director, Defendant More

conducted little, if any, oversight of the schemes to cause the Company to engage in the Unneeded

Product Misconduct and to make false and misleading statements, consciously disregarded his

duties to monitor internal controls over reporting and engagement in the schemes, and consciously

disregarded his duties to protect corporate assets. For these reasons, Defendant More faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.

       203.    Additional reasons that demand on Defendant Payne is futile follow. Defendant

Payne has served as a Company director since 2015. She also serves as a member of the Audit

Committee. She also solicited the 2023 Proxy Statement, which contained false and misleading

statements and contributed to the re-election of herself and Defendant Gani, which allowed them

to continue making false and misleading statements. Defendant Payne has received and continues

to receive compensation for her role as a director as described above. As a trusted Company

director, Defendant Payne conducted little, if any, oversight of the schemes to cause the Company

to engage in the Unneeded Product Misconduct and to make false and misleading statements,




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consciously disregarded her duties to monitor internal controls over reporting and engagement in

the schemes, and consciously disregarded her duties to protect corporate assets. For these reasons,

Defendant Payne faces a substantial likelihood of liability, is not independent or disinterested, and

thus demand upon her is futile and, therefore, excused.

       204.    Additional reasons that demand on Defendant Zafrir is futile follow. Defendant

Zafrir has served as a Company director since 2019. He also serves as the Chair of the Board, as

a member of the Compensation Committee, as a member of the Nominating and Governance

Committee, and as a member of the Technology Committee. He also solicited the 2023 Proxy

Statement, which contained false and misleading statements and contributed to the re-election of

Defendants Gani and Payne, which allowed them to continue making false and misleading

statements. Defendant Zafrir has received and continues to receive compensation for his role as a

director as described above. As a trusted Company director and the Chairman of the Board,

Defendant Zafrir conducted little, if any, oversight of the schemes to cause the Company to engage

in the Unneeded Product Misconduct and to make false and misleading statements, consciously

disregarded his duties to monitor internal controls over reporting and engagement in the schemes,

and consciously disregarded his duties to protect corporate assets. For these reasons, Defendant

Zafrir faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon him is futile and, therefore, excused.

       205.    Additional reasons that demand on the Board is futile follow.

       206.    Defendants Gani (as Chair), Gross, and Payne (the “Audit Committee Defendants”)

served on the Company’s Audit Committee during the Relevant Period. The Audit Committee

Defendants violated the Audit Committee Charter by engaging in or permitting the scheme to

cause the Company to making false and misleading statements to the investing public, and to




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facilitate and disguise the Individual Defendants’ violations of law, including breaches of fiduciary

duty, unjust enrichment, and violations of the Exchange Act. In addition, the Audit Committee

Defendants violated the Audit Committee Charter by failing to adequately oversee the integrity of

the Company’s financial disclosures, failing to adequately oversee the Company’s compliance

with legal and regulatory requirements, failing to adequately oversee the Company’s risk

assessments and risk management, including as it pertained to the Unneeded Product Misconduct,

failing to adequately discuss with management the Company’s information prior to public

distribution, and failing to adequately oversee the Company’s disclosure controls and procedures.

Thus, the Audit Committee Defendants breached their fiduciary duties, are not disinterested, and

demand is excused as to them.

       207.    In violation of the Codes of Conduct, the Director-Defendants engaged in or

permitted the schemes to cause the Company to engage in the Unneeded Product Misconduct and

to issue materially false and misleading statements to the investing public, and to facilitate and

disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust

enrichment, and violations of the Exchange Act. In addition, the Individual Defendants violated

the Codes of Conduct by failing to act with integrity, supporting and profiting from unethical

behavior, failing to avoid conflicts of interest, failing to ensure the Company’s disclosures were

accurate, failing to ensure the Company complied with applicable laws, rules, and regulations, and

failing to promptly report known violations of the Code of Conduct and the law. Thus, the Director-

Defendants breached the Company’s own Codes of Conduct, are not disinterested, and demand is

excused as to them.

       208.    SolarEdge has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Director-Defendants have not filed any lawsuits against




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themselves or others who were responsible for that wrongful conduct to attempt to recover for

SolarEdge any part of the damages SolarEdge suffered and will continue to suffer thereby. Thus,

any demand upon the Director-Defendants would be futile.

       209.    The acts complained of herein constitute violations of fiduciary duties owed by

SolarEdge’s officers and directors, and these acts are incapable of ratification.

       210.    The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Director-Defendants can claim

exculpation from their violations of duty pursuant to the Company’s charter (to the extent such a

provision exists). As a majority of the Directors face a substantial likelihood of liability, they are

self-interested in the transactions challenged herein and cannot be presumed to be capable of

exercising independent and disinterested judgment about whether to pursue this action on behalf

of the shareholders of the Company. Accordingly, demand is excused as being futile.

       211.    The Director-Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds, i.e., monies belonging to the stockholders of SolarEdge. If there is a directors’ and officers’

liability insurance policy covering the Directors, it may contain provisions that eliminate coverage

for any action brought directly by the Company against the Directors, known as, inter alia, the

“insured-versus-insured exclusion.” As a result, if the Director Defendants were to sue themselves

or certain of the officers of SolarEdge, there would be no directors’ and officers’ insurance

protection. Accordingly, the Director-Defendants cannot be expected to bring such a suit. On the

other hand, if the suit is brought derivatively, as this action is brought, such insurance coverage, if




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such an insurance policy exists, will provide a basis for the Company to effectuate a recovery.

Thus, demand on the Director-Defendants is futile and, therefore, excused.

        212.    If there is no directors’ and officers’ liability insurance, then the Director-

Defendants will not cause Solar-Edge to sue the Individual Defendants named herein, because, if

they did, they would face a large uninsured individual liability. Accordingly, demand is futile in

that event, as well.

        213.    Thus, for all of the reasons set forth above, all of the Director-Defendants, and, if

not all of them, at least four of the Directors cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.

                                           FIRST CLAIM

     Against Individual Defendants for Violations of Section 14(a) of the Exchange Act

        214.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

        215.    Section 14(a) of the Exchange Act provides that “[i]t shall be unlawful for any

person, by use of the mails or by any means or instrumentality of interstate commerce or of any

facility of a national securities exchange or otherwise, in contravention of such rules and

regulations as the [SEC] may prescribe as necessary or appropriate in the public interest or for the

protection of investors, to solicit or to permit the use of his name to solicit any proxy or consent

or authorization in respect of any security (other than an exempted security) registered pursuant to

section 12 of this title [15 U.S.C. § 78l].”

        216.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or




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which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       217.    Under the direction and watch of Defendants Lando, Zafrir, Atkins, Gani, Hoke,

More, and Payne, the 2023 Proxy Statement failed to disclose: (1) the reason the Company was

not only hitting “record” revenues, but simply just reaching financial goals, was because the

Company was forcing unneeded products on Distributors at the end of the fiscal quarters; (2)

demand in Europe, the Company’s most valuable region, was severely declining (3) by forcing

unneeded products on Distributors who had a declining demand, the Finished Goods Inventory

and Channel Inventories were ballooning to unsustainable levels; (4) SolarEdge’s sell-through

projections (i.e., sales from the Company’s Distributors to installers and other end users) were

artificially inflated as they were not based on either market reports nor the Company’s internal

data; (5) as a result of the foregoing, the Individual Defendants were aware of, or should have been

aware of, the risk of Channel Inventories rising to a level such that Distributors would need to

cancel and/or push out their current orders; (6) as a result Company revenues would plummet; and

(7) the Company failed to maintain internal controls.

       218.    Moreover, the 2023 Proxy Statement failed to disclose that the Board’s oversight

and risk mechanisms were not adequate and that the Codes of Conduct were not complied with, as

evidenced by the Individual Defendants: (1) participating in and/or facilitating the Company’s

participation in the Unneeded Product Misconduct; (2) making and/or causing the Company to

make numerous false and misleading statements and omissions alleged herein; and (3) failing to

report violations of the Codes of Conduct.

       219.    Defendants Lando, Zafrir, Atkins, Gani, Hoke, More, and Payne knew or recklessly

disregarded that by misrepresenting or failing to disclose the foregoing material facts, the




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statements contained in the 2023 Proxy Statement were materially false and misleading. The

misrepresentations and omissions were material to Plaintiff and Company shareholders in voting

on the matters set forth for shareholder determination in the 2023 Proxy Statement.

       220.     The misrepresentations and omissions in the 2023 Proxy Statement were material

to Plaintiff and Company shareholders in voting on the matters set forth for shareholder

determination therein, including but not limited to: (1) reelect Defendants Gani and Payne to the

Board, thereby allowing them to continue breaching their fiduciary duties to the Company; (2) to

appoint Ernst and Young as the Company’s independent registered public accounting firm for the

2023 Fiscal Year; (3) to approve executive compensation, on an advisory basis; (4) to vote on

executive compensation annually, on an advisory basis; (5) to amend the Certificate of

Incorporation to declassify the Board and hold annual elections; (6) to amend the Certificate of

Incorporation to remove the supermajority voting requirement for future amendments to the

Certificate of Incorporation and Company bylaws; and (7) to amend the Certificate of Incorporate

to add a federal forum selection provision for causes of action that arise under the Securities Act

of 1933..

       221.     The Company was damaged as a result of Defendants Lando, Zafrir, Atkins, Gani,

Hoke, More, and Payne’s material misrepresentations and omissions in the 2023 Proxy Statement.

       222.     Plaintiff, on behalf of SolarEdge, has no adequate remedy at law.

                                           SECOND CLAIM

                Against Individual Defendants for Breach of Fiduciary Duties

       223.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       224.     Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of SolarEdge’s business and affairs.



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       225.    Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

       226.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of SolarEdge.

       227.    In breach of their fiduciary duties, the Individual Defendants caused or permitted

the Company to engage in the Unneeded Product Misconduct.

       228.    In breach of their fiduciary duties owed to SolarEdge, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and misleading statements

and omissions of material fact that failed to disclose, inter alia, that: (1) the reason the Company

was not only hitting “record” revenues, but simply just reaching financial goals, was because the

Company was forcing unneeded products on Distributors at the end of the fiscal quarters; (2)

demand in Europe, the Company’s most valuable region, was severely declining (3) by forcing

unneeded products on Distributors who had a declining demand, the Finished Goods Inventory

and Channel Inventories were ballooning to unsustainable levels; (4) SolarEdge’s sell-through

projections (i.e., sales from the Company’s Distributors to installers and other end users) were

artificially inflated as they were not based on either market reports nor the Company’s internal

data; (5) as a result of the foregoing, the Individual Defendants were aware of, or should have been

aware of, the risk of Channel Inventories rising to a level such that Distributors would need to

cancel and/or push out their current orders; (6) as a result Company revenues would plummet; and

(7) the Company failed to maintain internal controls.




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       229.    As a result of the foregoing, the Company’s public statements were materially false

and misleading at all relevant times.

       230.    The Individual Defendants also failed to correct and caused the Company to fail to

correct the false and misleading statements and omissions of material fact, rendering them

personally liable to the Company for breaching their fiduciary duties.

       231.    Also in breach of their fiduciary duties, the Individual Defendants failed to maintain

an adequate system of oversight, disclosure controls and procedures, and internal controls.

       232.    In yet further breach of fiduciary duties, during the Relevant Period, Defendant

Faier engaged in an insider sale, netting proceeds of approximately $16,710, while the price of the

Company’s common stock was artificially inflated due to the false and misleading statements of

material fact discussed herein.

       233.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to issue materially false and misleading statements, and they failed to correct

the Company’s public statements and representations. The Individual Defendants had actual

knowledge of the misrepresentations and omissions of material facts set forth herein, or acted with

reckless disregard for the truth, in that they failed to ascertain and to disclose such facts, even

though such facts were available to them. Such material misrepresentations and omissions were

committed knowingly or recklessly and for the purpose and effect of artificially inflating the price

of the Company’s securities and disguising insider sales.

       234.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the Unneeded Product Misconduct and to fail to

maintain internal controls. The Individual Defendants had actual knowledge that the Company was

engaging in the Unneeded Product Misconduct set forth herein, and that internal controls were not




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adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the Unneeded Product Misconduct and to fail to maintain

adequate internal controls, even though such facts were available to them. Such improper conduct

was committed knowingly or recklessly and for the purpose and effect of artificially inflating the

price of the Company’s securities. The Individual Defendants, in good faith, should have taken

appropriate action to correct the scheme alleged herein and to prevent it from continuing to occur.

       235.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       236.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, SolarEdge has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       237.    Plaintiff, on behalf of SolarEdge, has no adequate remedy at law.

                                           THIRD CLAIM

                    Against Individual Defendants for Unjust Enrichment

       238.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       239.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, SolarEdge.

       240.    The Individual Defendants either benefitted financially from the improper conduct

and their making insider sales, or received profits, bonuses, stock options, or similar compensation

from SolarEdge that was tied to the performance or artificially inflated valuation of SolarEdge, or

received compensation that was unjust in light of the Individual Defendants’ bad faith conduct.




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       241.    Plaintiff, as a shareholder and representative of SolarEdge, seeks restitution from

the Individual Defendants and seeks an order from this Court disgorging all profits, including from

insider transactions, benefits, and other compensation, including any performance-based or

valuation-based compensation—obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary and contractual duties.

       242.    Plaintiff, on behalf of SolarEdge, has no adequate remedy at law.

                                           FOURTH CLAIM

                     Against Individual Defendants for Abuse of Control

       243.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       244.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

ability to control and influence SolarEdge, for which they are legally responsible.

       245.    As a direct and proximate result of the Individual Defendants’ abuse of control,

SolarEdge has sustained significant damages. As a result of the misconduct alleged herein, the

Individual Defendants are liable to the Company.

       246.    Plaintiff, on behalf of SolarEdge, has no adequate remedy at law.

                                           FIFTH CLAIM

                  Against Individual Defendants for Gross Mismanagement

       247.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       248.    By their actions alleged herein, the Individual Defendants, either directly or through

aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard




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to prudently managing the assets and business of SolarEdge in a manner consistent with the

operations of a publicly held corporation.

       249.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, SolarEdge has sustained and will continue

to sustain significant damages.

       250.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       251.    Plaintiff, on behalf of SolarEdge, has no adequate remedy at law.

                                           SIXTH CLAIM

  Against Defendants Lando, Faier, Danziger, and Lowe for Contribution Under Sections
                          10(b) and 21D of the Exchange Act

       252.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       253.    SolarEdge and Defendants Lando, Faier, Danziger, and Lowe are named as

defendants in the Securities Class Action, which asserts claims under the federal securities laws

for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated

thereunder. If and when the Company is found liable in the Securities Class Action for these

violations of the federal securities laws, the Company’s liability will be in whole or in part due to

Defendants Lando, Faier, Danziger, and Lowe’s willful and/or reckless violations of their

obligations as officers and/or directors of SolarEdge.

       254.    Defendants Lando, Faier, Danziger, and Lowe, because of their positions of control

and authority as officers and/or directors of SolarEdge, were able to and did, directly and/or

indirectly, exercise control over the business and corporate affairs of SolarEdge, including the

wrongful acts complained of herein and in the Securities Class Action.




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       255.    Accordingly, Defendants Lando, Faier, Danziger, and Lowe are liable under 15

U.S.C. § 78j(b), which creates a private right of action for contribution, and Section 21D of the

Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right of action for

contribution arising out of violations of the Exchange Act.

       256.    As such, SolarEdge is entitled to receive all appropriate contribution or

indemnification from Lando, Faier, Danziger, and Lowe.

                                       SEVENTH CLAIM

              Against the Individual Defendants for Waste of Corporate Assets

       257.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       258.    As a further result of the foregoing, the Company will incur many millions of

dollars of legal liability and/or costs to defend unlawful actions (as evidenced, for example, by the

Securities Class Action), to engage in internal investigations, and to lose financing from investors

and business from future customers who no longer trust the Company and its products.

       259.    In addition, the Individual Defendants caused the Company to repurchase shares of

its own common stock at artificially inflated prices, thereby wasting the Company’s assets.

       260.    As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       261.    Plaintiff, on behalf of SolarEdge, has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

               (a)     Declaring that Plaintiff may maintain this action on behalf of SolarEdge,

and that Plaintiff is an adequate representative of the Company;



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               (b)      Declaring that the Individual Defendants have breached or aided and

abetted the breach of their fiduciary duties to SolarEdge;

               (c)      Determining and awarding to SolarEdge the damages sustained by it as a

result of the violations set forth above from each of the Individual Defendants, jointly and

severally, together with pre-judgment and post-judgment interest thereon;

               (d)      Directing SolarEdge and the Individual Defendants to take all necessary

actions to reform and improve its corporate governance and internal procedures to comply with

applicable laws and to protect SolarEdge and its shareholders from a repeat of the damaging events

described herein, including, but not limited to, putting forward for shareholder vote the following

resolutions for amendments to the Company’s Bylaws or Certificate of Incorporation and the

following actions as may be necessary to ensure proper corporate governance policies:

                     1. a proposal to strengthen the Board’s supervision of operations and develop

            and implement procedures for greater shareholder input into the policies and

            guidelines of the board;

                     2. a provision to permit the shareholders of SolarEdge to nominate at least four

            candidates for election to the Board; and

                     3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations.

               (e)      Awarding SolarEdge restitution from Individual Defendants, and each of

them;

               (f)      Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)      Granting such other and further relief as the Court may deem just and




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proper.

                                        JURY DEMAND

Plaintiff hereby demands a trial by jury.

Date: June 10, 2024


                                            Respectfully Submitted,

                                            THE BROWN LAW FIRM P.C.

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                                            Counsel for Plaintiff




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                                        VERIFICATION

         I, Jonathan Blaufarb, am a plaintiff in the within action. I have reviewed the allegations
 made in this Shareholder Derivative Complaint, know the contents thereof, and authorize its filing.
 To those allegations of which I have personal knowledge, I believe those allegations to be true. As
 to those allegations of which I do not have personal knowledge, I rely upon my counsel and their
 investigation and believe them to be true.

        I declare under penalty of perjury that the foregoing is true and correct. Executed this
18__ day of May, 2024.




                               ______________________
                               Jonathan Blaufarb




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